Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 1 of 102 PageID #: 179




                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  PHILIP FLOYD,                        §
        Plaintiff                      §
  vs.                                  §
                                       §               CIVIL ACTION NO. 4:24-CV-00681
  ANDREA K. BOURESSA, RYAN HACKNEY§,
  PATRICK YARBOROUGH, ELIAS DRAGON§,
  MMWKM ADVISORS, LLC, SETH            §
  KRETZER AND JIM SKINNER, Defendants. §

         PLAINTIFF’S RESPONSE TO SETH KRETZER’S MOTION TO DISMISS
             AND REQUEST FOR SANCTIONS AND ATTORNEY’S FEES

  TO THE HONORABLE AMOS L. MAZZANT, III:

         COMES NOW, Philip Floyd and files this response to Seth Kretzer Motion to Dismiss

  and shows this Court as follows:

         As to Defendant’s allegation that this Court lacks subject matter jurisdiction (F.R.C.P

  Rule 12 (b)(1)) of a case alleging 14th Amendment to the U.S. Constitution violation of

  Plaintiff’s right to procedural due process and under 42 U.S.C. 1982, Defendant is simply

  mistaken.

         As to Defendant’s allegation that this Court lacks subject matter jurisdiction (F.R.C.P

  Rule 12 (b)(6)) of a case alleging 14th Amendment to the U.S. Constitution violation of

  Plaintiff’s right to procedural due process and under 42 U.S.C. 1982, Defendant is simply

  mistaken.

         Plaintiff’s complaint against Defendant Kretzer is set forth in Count 2. Count 2 is a 14th

  Amendment to the U.S. Constitution violation of Plaintiff’s right to procedural due process under

  42 U.S.C. 1985.

         Count 2 is independent of Count 1 and arises out of the fabrication of evidence by

  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 1
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 2 of 102 PageID #: 180




  Defendant Bouressa in a conspiracy with the other named Defendants to cover up the

  Constitutional violation set forth in Count 1.

         It is well established that the fabrication of evidence is a 42 U.S.C. 1983 violation. See

  Napue v. Illinois, 360 U.S. 264 (1959). Also, Barnes v. City of New York, 68 F. 4th 123 (2d Cir.

  2023) makes it perfectly clear that 42 U.S.C. 1983 covers fabricated evidence claims. See United

  States v. Cabrera, 22 Cr. 10 (NRB) (S.D.N.Y. Mar. 5, 2024); To the extent movants also cite

  these 42 U.S.C. § 1983 cases to show that the use of fabricated evidence violates a defendant's

  due process rights, the Court does not dispute that a prosecution based on fabricated evidence can

  violate due process. See Barnes v. City of New York, 68 F.4th 123, 129 (2d Cir. 2023) (citing

  Ashley v. City of New York, 992 F.3d 128, 139 (2d Cir. 2021)).

         That the “evidence” in the findings of fact submitted by Defendant Bouressa is fabricated,

  is born out by Count 1. There was no evidence presented on August 1, 2022, therefore the

  findings of facts are fabricated.

         Count 2 sets forth a rather detailed plan by Defendant Bouressa and Defendants Hackney

  and Yarborough to file falsified findings of fact and conclusions of law in the Appellate

  proceeding. That the filing of falsified documents in a proceeding is also a crime under Texas

  Criminal law is a motivating factor for the conspiracy to coverup the fabricated evidence. The

  Complaint in Count 2, shows Defendant Kretzer’s involvement in the conspiracy that began

  when he became receiver. Beginning on June 9, 2023, Defendant Kretzer became a wilful

  participant in the conspiracy to deprive Plaintiff of his procedural due process rights.

         After Defendant Kretzer’s alleged appointment as receiver, Defendant Kretzer,

  intentionally and knowingly chose to participate in the conspiracy as set forth in Count 2 of the

  Complaint. Plaintiff uses the term “alleged appointment” because the Nunc Pro Tunc Order

  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 2
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 3 of 102 PageID #: 181




  Appointing Receiver Nunc Pro Tunc dated June 9, 2023 is an illegal order and amounts to a

  fraud on the court by Defendant Kretzer and Defendant Yarborough. There were two hearings

  scheduled regarding the appointment of a receiver; the first was on February 21, 2023.

  Defendant Bouressa conducted that hearing but no order resulted from that hearing. One

  hundred and eight days later, there was a “status” hearing on June 9, 2023. Defendant Bouressa

  was not present at that hearing. Sitting in the 471st District Court, Judge Ray Wheless conducted

  that hearing. At the conclusion of the hearing and over the objections of Plaintiff, Judge Wheless

  signed an Order Appointing Receiver designating Defendant Kretzer. That order signed by

  Judge Wheless was never entered into the Clerk’s Record as a valid order of the court. Without

  the knowledge of Plaintiff, Defendant Yarborough and Defendant Kretzer somehow got the

  District Clerk of Collin County to filed the Order Appointing Receiver Nunc Pro Tunc.

  Ostensibly a District Court judge signed that order, but no record of who actually signed that

  order? Notwithstanding, the total absence of any evidence in either the February 21, 2023

  hearing or the June 9, 2023 to support the appointment of a receiver was a violation of Plaintiff’s

  procedural due process rights and as such conveyed no lawful authority on Defendant Kretzer;

  therefore, the order appointing Defendant Kretzer as a receiver is an illegal order therefore void.

  The June 9, 2023, Order Appointing Receiver Nunc Pro Tunc was not signed by Defendant

  Bouressa or Judge Ray Wheless. Whoever signed the Order Appointing Receiver Nunc Pro

  Tunc on June 9, 2023, was acting ultra vires. The order being void deprives Defendant Kretzer

  of any immunity. Attached hereto and made a part hereof as Exhibits 1 and 2 are the Reporter’s

  Record for February 21, 2023 and June 9, 2023. The Reporter’s Record clearly shows that no

  evidence was offered by movants, Defendant Yarborough or Defendant Kretzer; therefore, the

  June 9, 2023 Order Appointing Receiver Nunc Pro Tunc is void ab initio. Attached hereto and

  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 3
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 4 of 102 PageID #: 182




  made a part hereof as Exhibit 3 is a copy of the June 9, 2023 Order Appointing Receive Nunc

  Pro Tunc. Defendant Kretzer was present on June 9, 2023 and he knew that no evidence was

  admitted to support the Motion to Appoint a Receiver. At that point Defendant Kretzer became a

  conspirator in the conspiracy. In furtherance of the conspiracy, Defendant Kretzer and Defendant

  Yarborough scheduled an hearing for August 7, 2023 where they conspired with Defendant

  Bouressa to enter an Amended Order Appointing Receiver the purpose of which was to clean up

  the obvious defects in the June 9, 2023 Order Appointing Receiver Nunc Pro Tunc and use a new

  order to seize property belonging to Plaintiff by denying him his constitutionally protected due

  process rights to offer a defense against the actions of the conspirators. Attached hereto and

  made a part hereof is the Reporter’s Record for August 7, 2023. Defendant Bouressa was the

  judge for the August 7, 2023 hearing. Again, the Reporter’s Record is totally devoid of any

  evidence being offered in the hearing. As a result of the August 7, 2023 hearing, on August 12,

  2023 Defendant Bouressa signed an Amended Order Appointing Receiver that deprived Plaintiff

  of his civil rights. Attached hereto and made a part hereof as Exhibit 4 is a copy of the August

  12, 2023 Amended Order Appointing Receiver.

         On or about February 21, 2024, Defendant Kretzer and Defendant Yarborough conspired

  to have Defendant Bouressa order Plaintiff to turnover a $35,000 check to Defendant Kretzer in

  violation of Plaintiff’s due process rights. At the February 21, 2024 hearing, Defendant Bouressa

  refused to permit Plaintiff to offer any evidence that the $35,000 was earned income and was not

  subject to a turnover order without evidence that the money was exempt property Plaintiff under

  Texas law. Defendant Bouressa subsequently signed a Order for Turnover of $35,000 Check

  From American General Life Insurance Company (“Turnover Order” directing Plaintiff to

  turnover to Defendant Kretzer a check for $35,000. Attached hereto and made a part hereof as

  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 4
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 5 of 102 PageID #: 183




  Exhibit 5 is a copy of the Turnover Order. Attached hereto and made a part hereof is the

  Reporter’s Record for February 21, 2024 as Exhibit 6. The 14th Amendment to the U.S.

  Constitution and Texas law requires an evidentiary hearing (due process) before Plaintiff’s

  property can be ordered to be turnover to anyone.

         Civil conspiracy is a claim that can be asserted when multiple defendants combine to do

  something unlawful to cause damages. Civil conspiracy is not an independent tort, but rather, a

  theory of vicarious liability which requires some underlying wrong. In this case, the underlying

  wrong was the crime of filing a falsified document in the underlying proceeding for the purpose

  of misleading the Court of Appeals when there was no evidence in the Reporter’s Record to

  support the judgment.

         Civil conspiracy depends entirely on the injury caused by an underlying tort; the injury is

  the damage from the underlying wrong, not the conspiracy itself. Agar Corporation, Inc. v.

  Electro Circuits International, LLC, 580 S.W.3d 136, 141-142 (Tex. 2019).

         There are five elements required to prove civil conspiracy: 1) a combination of two or

  more persons; 2) the persons seek to accomplish an object or course of action; 3) the persons

  reach a meeting of the minds on the object or course of action; 4) one or more unlawful, overt

  acts are taken in pursuance of the object or course of action; and 5) damages occur as a proximate

  result. Tri v. J.T.T., 162 S.W.3d 552, 556 (Tex. 2005). The claim requires evidence of a specific

  intent to agree to accomplish something unlawful or to accomplish something lawful by unlawful

  means. First United Pentecostal Church of Beaumont v. Parker, 514 S.W.3d 214, 222 (Tex.

  2017). This necessarily requires a meeting of the minds on the object or course of action. Tri, 162

  S.W.3d at 556 (citing Massey v. Armco Steel Co., 652 S.W.2d 932, 934 (Tex. 1983). The

  conspiring parties must be aware of the intended harm or proposed wrongful conduct at the

  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 5
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 6 of 102 PageID #: 184




  outset of the combination or agreement. Firestone Steel Prods. Co. v. Barajas, 927 S.W.2d 608,

  614 (Tex. 1996); see also, Schlumberger Well Surveying Corp. v. Nortex Oil & Gas Corp., 435

  S.W.2d 854, 857 (Tex. 1968).

          Therefore, to prevail on a civil conspiracy claim, the plaintiff must show a defendant was

  liable for some underlying tort. Id. (citing Trammell Crow Co. No. 60 v. Harkinson, 944 S.W.2d

  631, 635 (Tex. 1997)). Proof of a civil conspiracy may be, and usually must be, made by

  circumstantial evidence, but vital facts may not be proved by unreasonable inferences from other

  facts and circumstances. Schlumberger Well Surveying Corp. v. Nortex Oil & Gas Corp., 435

  S.W.2d 854, 858 (Tex. 1969).

          Count 2 sets forth the vital facts of Plaintiff’s 42 U.S.C. 1983 complaint and the

  conspiracy case with great specificity. Once Defendant Kretzer files an answer in the case, he

  has every right to assert his claim of derived immunity for damages. Plaintiff asserts that unlike

  a judge, a receiver’s derived immunity is limited to those acts contained in a legal appointment.

  Since the appoint was illegal, the order appointing receiver cannot convey derived immunity and

  in any event, the acts of conspiring to deprive Plaintiff of his civil rights are outside the

  appointment and is not covered by any derived immunity.

          Defendant Kretzer’s claim of derived immunity does not entitled him to a dismissal. It

  just means that he may have immunity against damages if the person his immunity derived from

  has immunity. Since he apparently he is claiming immunity derived from a district court judge,

  state court judges are not immune from federal suits seeking equitable or declaratory relief

          See Crane v. Texas, 759 F.2d 412 (5th Cir. 1985) holding;

          The defendant judges of the Dallas County Criminal Courts joined with Dallas County in
          claiming entitlement to Eleventh Amendment immunity. Insofar as they sought to derive
          such immunity from the County, their claim must plainly fail with that of the County.

  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 6
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 7 of 102 PageID #: 185




          Monell, 436 U.S. at 690 n. 55, 98 S. Ct. at 2035 n. 55. The judges also contend that they
          are not "persons" under Sec. 1983. The Supreme Court's recent decision in Pulliam v.
          Allen, 466 U.S. 522, 104 S. Ct. 1970, 80 L. Ed. 2d 565 (1984), settles this question. In
          Pulliam, an action brought under Sec. 1983, the Court held that judicial immunity bars
          neither prospective injunctive relief nor the award of attorneys' fees under Sec. 1988. That
          state judges are "persons" for Sec. 1983 purposes is clearly implicit in this holding.
          Further, our own cases establish that state court judges are not immune from
          federal suits seeking equitable or declaratory relief. Ciudadanos Unidos de San Juan
          v. Hidalgo County Grand Jury Commissioners, 622 F.2d (emphasis added) 807, 813 n. 16
          (5th Cir. 1980), cert. denied, 450 U.S. 964, 101 S. Ct. 1479, 67 L. Ed. 2d 613 (1981)
          (Sec. 1983 action against state judges); Sparks v. Duval County Ranch Co., Inc., 604 F.2d
          976, 980-81 (5th Cir. 1979) (en banc), aff'd sub nom Dennis v. Sparks, 449 U.S. 24, 101
          S. Ct. 183, 66 L. Ed. 2d 185 (1980)

          Plaintiff’s Count 2 also contains the elements of a violation of 42 U.S.C. 1985 (3),

  conspiracy to interfere with civil rights by depriving persons of rights or privileges which is a

  private cause of action for the conduct of some or all of the conspirators, including Defendant

  Kretzer. 42 U.S.C. 1985 (3), conspiracy to interfere with civil rights is a Federal cause of action

  not restricted by any State activity. If the court permits, Plaintiff will amend the complaint to

  specifically include the defendants violations of 42 U.S.C. 1985 (3), conspiracy to interfere with

  civil rights.

          Defendant Kretzer has the right to claim derived immunity against damages for

  participation in a conspiracy. However, Plaintiff challenges Defendant Kretzer’s claim of

  derived immunity on two points: First, the June 9, 2023 Order Appointing Receiver Nunc Pro

  Tunc is an unconstitutional order it violated Plaintiff’s due process rights because there is no

  evidence in the record to support the unconstitutional actions of Defendant Bouressa. Conspiring

  to deprive Plaintiff of his civil rights by Defendant Kretzer is not within the scope of the duties of

  a judge or a receiver and therefore, Defendant Kretzer is acting ultra vires when he acts beyond

  the scope of his statutory authority, or pursuant to authority deemed to be unconstitutional.

  Plaintiff contends that Defendant Kretzer was acting beyond the scope of any perceived statutory

  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 7
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 8 of 102 PageID #: 186




  authority, or pursuant to authority this Court is asked to deemed to be unconstitutional. If the

  court determines the actions of Defendant Kretzer in furtherance of the conspiracy is not covered

  by derived immunity, Defendant Kretzer may be liable for damages.

            Defendant Kretzer’s reliance on Davis v. Bayless, Bayless & Stokes, 70 F.3d 367, 376 (5th

  Cir. 1995) is misplaced. The pleadings in this case establish that Defendant Kretzer was acting in

  a conspiracy with the Defendant Yarborough to burden and harass Plaintiff during the court

  proceedings, conduct that would not be included in the authority of a receiver even if he had

  derived immunity. Defendant Kretzer’s first duty is to the law and then the court. He breached

  his duty to both.

             PLAINTIFF’S REQUEST FOR SANCTIONS AND ATTORNEY’S FEES
                           AGAINST DEFENDANT KRETZER

            Plaintiff would show that Defendant Kretzer uses his Motion to Dismiss is an

  unprofessional personal attack on Plaintiff and Plaintiff’s attorney because he believes has

  immunity from any damages for his actions The unprofessional attacks are as follows:

  Page 1:          In the opening paragraph A, Defendant Kretzer makes an ad hominem attack on

                   Plaintiff by stating in bold letters; “Philip Floyd Is A Certified Financial Planner –

                   And A Financial Deadbeat. Such a statement in a pleading is uncalled for and

                   unprofessional.

  Page 2:          In the first full paragraph Defendant Kretzer in referring to Plaintiff states, “What

                   Mr. Floyd’s clients and prospects may not know is that his personal financial

                   strategy for “avoid[ing] significant losses” is to thumb his nose at his creditors

                   and circumvent court orders designed to hold him accountable.” This is an ad

                   hominem attack on Plaintiff that has no place in a motion to dismiss.


  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 8
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 9 of 102 PageID #: 187




  Page 2:     Second paragraph: “Though Mr. Floyd boast online… obligations are closer to

              home, in Texas courts.” this is an unprofessional comment to denigrate Plaintiff

              and inappropriate in a motion to dismiss.

  Page 3:     In the paragraph beginning with, “The judgment and turnover order were affirmed

              by the Dallas Court of Appeals in early 2024", Defendant Kretzer states,

              “Appellees produced evidence that Floyd owned non-exempt property and that

              Appellees had an unpaid final judgment against Floyd.” This is a completely false

              statement that Defendant Kretzer knows to be false as well as inappropriate in a

              motion to dismiss.

  Page 4:     In the paragraph entitled; “D. Judge Bouressa Recuses When She

              Referred Attorney Floyd To The State Bar”, Defendant Kretzer makes

              a maliciously false statement with no other purpose than to denigrate Plaintiff’s

              counsel. Counsel for Plaintiff has not been referred to the State Bar by Judge

              Bouressa.

  Page 4:     In the first sentence below the heading, Defendant Kretzer accuses Plaintiff of

              defrauding creditors. Defraud is a malicious word meaning to illegally obtain

              money from someone by deception. This ad hominem attack on Plaintiff has no

              place in a motion to dismiss.

  Page 4:     In the last sentence, Defendant Kretzer continues with his personal attacks with

              the statement; “While it was not clear to the undersigned at the June 6 hearing if

              Attorney Floyd had conveyed an actual extortion threat- the Complaint filed in

              this Court leaves little doubt on that score.” Clearly, Defendant Kretzer is



  PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 9
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 10 of 102 PageID #: 188




                    accusing Plaintiff’s attorney of “extortion threats.” What purpose other than to

                    denigrate Plaintiff and his attorney could Defendant Kretzer have for using such a

                    malicious word as “extortion?” Such comments have no place in a motion to

                    dismiss.

   Page 5:          In the first full paragraph, Defendant Kretzer states;

                    “The obvious implication is that the Floyds filed this 1983 lawsuit to front-run the
                    pending State Bar investigation and (they hope) to keep the United States
                    Attorney’s Office in this District away from investigating them for their (wholly
                    unsuccessful) attempts to influence a state judicial officer and the county sheriff.
                    he uses “pending State Bar investigation” which implies he either knows about
                    something and has been talking with Bouressa or is making this up.”

                    Such statement has no place in his motion to dismiss other than to continue to

                    denigrate Plaintiff and his attorney. The statement is wholly false and malicious.

   Page 8:          In the last sentence preceding the Conclusion heading, Defendant Kretzer again

                    alludes to “... the Floyd apparently tried to influence two elected state

                    officeholders.” While that is a false statement, even if true, it has no place in a

                    motion to dismiss other than to denigrate Plaintiff.

             Defendant Kretzer uses his Motion to Dismiss as a forum to make personal and

   unprofessional attacks on Plaintiff and Plaintiff’s attorney in the belief that he has immunity for

   such unprofessional conduct.

                                                  PRAYER

             Plaintiff prays that the Motion to Dismiss filed by Defendant Kretzer be denied and he be

   required to file an answer in this cause as Count 2 and that he be sanctioned for his

   unprofessional conduct in his Motion to Dismiss as well as ordered to pay Plaintiff for his

   attorneys fees in the amount of $1,200.00.


   PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 10
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 11 of 102 PageID #: 189




   Respectfully submitted,

   /s/ Douglas T. Floyd
   DOUGLAS T. FLOYD
   Attorney for Plaintiff
   6521 Preston Rd., Suite 100
   Plano, Texas 75024
   214-704-7081
   877-846-3149 Fax
   SBN: 07181700
   Lawyerfloyd@aol.com

                                     CERTIFICATE OF SERVICE

           I certify that a copy of the above Plaintiff’s Response to Seth Kretzer’s Motion to Dismiss
   was served on the 30th day of August, 2024, upon all parties who have entered an appearance,
   using the CM/ECF system.

   /s/ Douglas T. Floyd
   DOUGLAS T. FLOYD

                        AFFIDAVIT AUTHENTICATION DOCUMENTS

   STATE OF TEXAS                }

   COUNTY OF COLLIN              }

            My name is Douglas T Floyd I am qualified to make this affidavit. I was legal counsel in
   the trial court for Plaintiff and counsel in this Court. Accordingly, I have personal knowledge of
   the documents filed in the trial court I have examined the original record filed in the trial court
   and the copies of each and every document in the Exhibits and the Reporter's Record and I swear
   under penalty of perjury that they are true and correct copies of the originals.

   /s/ Douglas T. Floyd
   DOUGLAS T. FLOYD

                                              EXHIBITS

   1.     Reporter’s Record for February 21, 2023
   2.     Reporter’s Record for June 9, 2023
   3.     Order Appointing Receive Nunc Pro Tunc, dated June 9, 2023
   4.     Amended Order Appointing Receiver, August 12, 2023
   5.     Order for Turnover of $35,000 Check From American General Life Insurance Company,
          February 21, 2024
   6.     Reporter’s Record for February 21, 2024

   PLAINTIFF’S RESPONSE TO KRETZER’S MOTION TO DISMISS
                                PAGE 11
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 12 of 102 PageID #: 190




    1                              REPORTER'S RECORD
    2                          CAUSE NO. 471-02423-2021
    3
    4    PHILIP FLOYD,                   ) IN THE DISTRICT COURT
                                         )
    5           Plaintiff,               )
                                         )
    6    VS.                             ) 471ST JUDICIAL DISTRICT
                                         )
    7    MMWKM ADVISORS, LLC, and        )
         ELIAS DRAGON,                   )
    8                                    )
                Defendants.              ) COLLIN COUNTY, TEXAS
    9
   10
   11    *******************************************************
   12                                   HEARING
   13                              FEBRUARY 21, 2023
   14    *******************************************************
   15
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   20
   21              On the 21st day of February, 2023, the following
   22    proceedings came on to be held in the above-titled and
   23    numbered cause before the Honorable Andrea Bouressa,
   24    Presiding Judge, in McKinney, Collin County, Texas.
   25    Proceedings reported by realtime machine shorthand.

                          Denise Carrillo, CSR, RMR, CRR
                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 13 of 102 PageID #: 191

                                                                           2

    1                           A P P E A R A N C E S
    2    FOR THE PLAINTIFF:
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    7
    8    FOR THE DEFENDANTS:
    9       MR. PATRICK YARBOROUGH
            SBOT NO. 24084129
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   11       Houston, Texas 77002
            Phone: (713)331-5254
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                          Denise Carrillo, CSR, RMR, CRR
                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 14 of 102 PageID #: 192

                                                                           3

    1                                    INDEX
    2                                   HEARING
    3    February 21, 2023
    4                                                          PAGE
    5    Caption ...........................................1
    6    Appearances........................................2
    7    Proceedings........................................4
    8    End of Proceedings................................19
    9    Reporter's Certificate ...........................20
   10
   11
   12                                   EXHIBITS
   13    DEFENDANT
         NO.              DESCRIPTION              OFFERED ADMITTED
   14
         1   Wells Fargo/Business Records
   15        Declaration                               8
   16
   17
   18
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                          Denise Carrillo, CSR, RMR, CRR
                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 15 of 102 PageID #: 193

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    1                           P R O C E E D I N G S
    2                (Tuesday, February 21, 2023, 10:28 a.m.)
    3                    THE COURT:    We'll go on the record in
    4    Cause Number 471-02423-2021.
    5                    We have Mr. Floyd for the plaintiff and
    6    Mr. Yarborough for the defendant and judgment creditor,
    7    and this is a motion for a post-judgment receivership.
    8                    And this case is currently on appeal; is
    9    that correct?
   10                    MR. FLOYD:    Yes.
   11                    MR. YARBOROUGH:      Yes, Your Honor.
   12                    THE COURT:    And has the judgment been
   13    superseded?
   14                    MR. YARBOROUGH:      No, Your Honor.
   15                    THE COURT:    Okay.   Mr. Floyd, is there any
   16    intention to supersede the judgment at this point?
   17                    MR. FLOYD:    I didn't hear what you said.
   18                    THE COURT:    Is there any intention on the
   19    part of the plaintiff to supersede the judgment at this
   20    point?
   21                    MR. FLOYD:    No, Your Honor.
   22                    THE COURT:    Mr. Yarborough, you may
   23    proceed.
   24                    MR. YARBOROUGH:      Thank you, Your Honor.
   25                    May it please the Court.

                          Denise Carrillo, CSR, RMR, CRR
                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 16 of 102 PageID #: 194

                                                                           5

    1                    On behalf of judgment creditors, I am here
    2    today to request the appointment of a qualified
    3    receiver.   There's a final arbitration award in the
    4    underlying case here, which has since been confirmed and
    5    reduced to final judgment by this Court.        And there was
    6    a motion for new trial, which Your Honor denied in
    7    November, 2022.
    8                    Furthermore, in this case, judgment
    9    creditors have pursued every single judgment collection
   10    tool available prior to seeking this receivership, but
   11    to no avail.    To date, Mr. Floyd has not paid one dollar
   12    of the final judgment entered by this Court, now, almost
   13    six months ago.
   14                    So, Your Honor, there are three principal
   15    reasons why judgment creditors urge the Court to appoint
   16    a receiver here.    First and most importantly, Mr. Floyd
   17    owes $1.4 million pursuant to a final judgment of this
   18    Court, and he hasn't paid anything.        He hasn't offered
   19    to pay anything.    And to make matters even worse,
   20    Mr. Floyd has not complied with the order for turnover
   21    relief entered by this Court.
   22                    He has not supplied any excuse for not
   23    providing any sort of payment plan or any sort of offer
   24    of payment.    And, instead, he has fought tooth and nail
   25    not to comply with this Court's orders, including a writ

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 17 of 102 PageID #: 195

                                                                           6

    1    of execution, Your Honor, a turnover order, an abstract
    2    of judgment, which, of course, you can't comply with,
    3    but it's still further evidence of our efforts.         And we
    4    also filed a garnishment case.
    5                    And so, Your Honor, first and foremost,
    6    the most important reason why a receivership is
    7    warranted here is because we've tried everything else,
    8    and so we don't think there is any other adequate
    9    remedy, even though we don't have to prove that.          There
   10    just isn't.    And, secondly, Your Honor, as Mr. Floyd
   11    acknowledges in his response, for the evidence to be
   12    sufficient to appoint a receiver, you need evidence of
   13    non-exempt assets.
   14                    Judgment creditors supplied the Court --
   15    in exhibits that are authenticated by affidavit --
   16    evidence of multiple bank accounts with positive
   17    balances at Wells Fargo Bank that were produced in
   18    post-judgment discovery as well as the garnishment case
   19    that judgment creditors filed against Wells Fargo Bank
   20    that fully complied.     Bank accounts with positive
   21    balances are quintessential non-exempt assets.         So the
   22    standard has been met.
   23                    And we've also identified -- and I brought
   24    evidence of this to this hearing, which I am happy to
   25    provide to Mr. Floyd and to the Court, if I may

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 18 of 102 PageID #: 196

                                                                           7

    1    approach.
    2                    THE COURT:    Sure.
    3                    MR. YARBOROUGH:     Your Honor, what I have
    4    here is a business records declaration supporting bank
    5    records from Wells Fargo Bank, demonstrating that not
    6    only does Mr. Floyd have non-exempt assets.         He has a
    7    22,000-a-month revenue stream, which you can see on
    8    Pages 4 and 6 of Exhibit 1.      You can see that
    9    Mr. Floyd has --
   10                    MR. FLOYD:    Your Honor, I have to object
   11    here.   This is hearsay.     There's no business records
   12    authentication of these documents.       They're totally
   13    inadmissible and should not be considered at all by this
   14    Court in this hearing.
   15                    MR. YARBOROUGH:     Your Honor, may I
   16    respond?
   17                    THE COURT:    Please, Mr. Yarborough.
   18                    MR. YARBOROUGH:     Okay.   To that objection,
   19    we requested and received the business records
   20    declaration to authenticate these bank records, which
   21    have never been challenged.      These have been filed with
   22    the Court already.     Mr. Floyd has responded multiple
   23    times to this motion, never raising this evidentiary
   24    objection.
   25                    And this, Your Honor, is proof not only

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 19 of 102 PageID #: 197

                                                                           8

    1    that we have positive balances in these bank accounts,
    2    which Mr. Floyd doesn't contest, but also that there is
    3    monthly recurring revenue of approximately 21- to
    4    $22,000 hitting Mr. Floyd's bank accounts every month.
    5    No matter where they go, they're --
    6                    THE COURT:    Just circling back to just the
    7    admissibility of the document, if you are offering it as
    8    an exhibit, it does appear to be a valid business
    9    records affidavit, which would make it an exception to
   10    the hearsay rule.     So I will overrule the hearsay
   11    objection and admit this exhibit.
   12                    If you would mark it, please.
   13                    MR. YARBOROUGH:     Yes, Your Honor.
   14                    Thank you.    I apologize for getting ahead
   15    of myself there.
   16                    MR. FLOYD:    Judge, I would like to renew
   17    my objection and state that this was just provided
   18    today.   Business records affidavits need to be provided
   19    well before the hearing.
   20                    THE COURT:    And your response to that
   21    objection, Mr. Yarborough?
   22                    MR. YARBOROUGH:     Your Honor, these records
   23    have been produced in this case and have been produced
   24    to Mr. Floyd already, and this is further evidence of
   25    monthly recurring revenue --

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 20 of 102 PageID #: 198

                                                                           9

    1                    THE COURT:    Did you state whether it had
    2    been filed?
    3                    MR. YARBOROUGH:     Excuse me.   Your Honor,
    4    no, we did not file that.
    5                    THE COURT:    Okay.
    6                    Mr. Floyd, refresh my recollection as to
    7    the rule, as to how far in advance a business record
    8    affidavit has to be on file before it can be utilized in
    9    court?
   10                    MR. FLOYD:    A reasonable time, but 15 days
   11    is, I believe, what the statute says is the minimum
   12    time.
   13                    THE COURT:    All right.    I will sustain
   14    that objection.
   15                    Mr. Yarborough, anything further?
   16                    MR. YARBOROUGH:     Yes, Your Honor, just
   17    briefly.
   18                    Judgment creditors do not rely on this
   19    piece of evidence to meet their burden.        The burden is
   20    easily met by uncontested evidence that is attached to
   21    the motion.    The point here is, merely, that Mr. Floyd
   22    has income, and that has been produced to Mr. Floyd, and
   23    there is no argument here that he's paid any money to
   24    satisfy this judgment, that he's superseded this
   25    judgment, or that he's otherwise not in possession of

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 21 of 102 PageID #: 199

                                                                            10

    1    any non-exempt assets.     And for the reasons set forth in
    2    the motion, we believe that a receivership is the only
    3    way to collect money pursuant to this judgment, which is
    4    now final.    And there is no legal reason why it
    5    shouldn't be executed and satisfied, Your Honor.
    6                    THE COURT:    Thank you.
    7                    Mr. Floyd, your response.
    8                    MR. FLOYD:    Judge, I believe I filed an
    9    objection based on that I believe, under the law, that
   10    this Court has lost plenary power to continue with this
   11    case in the manner in which it's continuing.         If the
   12    parties want to file receivership, they can file it in
   13    this court or any court wherever the assets are, but it
   14    has to be filed as a separate and stand-alone case.           So
   15    this Court, in my opinion, does not have plenary power
   16    and I'm objecting to any further hearing on that matter.
   17    So I would like a ruling on that objection.
   18                    THE COURT:    I am going to overrule that
   19    objection.    The Court's jurisdiction does continue for
   20    enforcement of the judgment, and that's the basis.          My
   21    understanding is that that's the basis of the
   22    receivership, is for enforcement of the judgment.
   23                    MR. FLOYD:    The second issue is that I
   24    presume that Mr. Yarborough's statements were argument
   25    of counsel.    If he's testifying to those matters, there

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 22 of 102 PageID #: 200

                                                                          11

    1    is simply no evidence whatsoever as to anything that he
    2    said.   He made some arguments, but there is not a
    3    scintilla of evidence of any non-exempt assets.         As he
    4    said, they have done extensive discovery, and they found
    5    not a scintilla of non-exempt assets.
    6                    The only asset they found was a bank
    7    account that Mr. Floyd, Philip Floyd, opened for his two
    8    daughters when they were minors and that they deposited
    9    their babysitting money in -- there is an affidavit on
   10    file with that -- that that was their money, and they
   11    garnished those accounts and dismissed the garnishment,
   12    and it was less than a thousand dollars.        I don't
   13    remember.    It was probably closer to $500.
   14                    So, technically, possibly, there is less
   15    than a thousand dollars of non-exempt assets that
   16    belongs to Philip Floyd's two daughters, who are now
   17    adults.    They were minors at the time.      He had just not
   18    removed his name as a signature on the account.         And
   19    they -- as Mr. Yarborough stated, they dismissed the
   20    accounts.    So there is not a scintilla of evidence
   21    before this Court that there is any non-exempt assets.
   22                    Income, if any, has not been shown.        But
   23    income -- wages cannot be garnished or taken by a
   24    receiver.    They don't have the power to take wages in
   25    any type of case in the state of Texas.        And there is no

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 23 of 102 PageID #: 201

                                                                          12

    1    showing whatsoever that he has any wages.
    2                    So I would suggest to the Court that the
    3    Court cannot rely solely on the argument of counsel.
    4    They didn't bring any witnesses in here.        The movants or
    5    the claimants in this case could have come here and
    6    testified, but they chose not to do so.        They could have
    7    testified that Mr. Floyd worked for them for many years
    8    and they know that he's got millions of dollars or
    9    something.   That would all have been false, but if they
   10    know it to be true -- if they had any knowledge
   11    whatsoever of any non-exempt assets, they should have
   12    come in and testified.
   13                    As Mr. Yarborough argued, they tried a
   14    turnover order.    The constable went to Mr. Floyd's house
   15    and found nothing.     They found no assets.     All this is
   16    is harassment, and it's an intention to abuse the
   17    process to harass Mr. Floyd.
   18                    He has no duty to pay a debt if he doesn't
   19    have the money.    And to say that he is doing something
   20    wrong because he doesn't have the money, there is an
   21    ulterior motive for all of this.       This is simply
   22    harassment of Mr. Floyd because they know he doesn't
   23    have the money.    If they had -- and the two witnesses
   24    for the movants in this case could have come here and
   25    testified -- but they would have to testify falsely --

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 24 of 102 PageID #: 202

                                                                          13

    1    if they thought there was any non-exempt assets.          They
    2    have known him for many years.       That came out in the
    3    case.   They know he doesn't have any money to pay the
    4    debt.
    5                    And the second thing, we object to the
    6    appointment of this gentleman as the receiver.         One,
    7    this was just filed on Friday, and, two, there is no
    8    evidence whatsoever that -- well, he's here today.          He
    9    can testify for himself if he wants to take the stand.
   10    But there is no evidence whatsoever that he has any
   11    qualifications until he takes the stand.        I am objecting
   12    to this document that they filed on -- that the movants
   13    filed on Friday, the 17th, requesting a substitution of
   14    a receiver.
   15                    And, thirdly, the receiver lives in
   16    Houston.   This case is here in Collin County.        To have
   17    to appoint a receiver 250 miles away is just going to be
   18    a burden on everybody, and it's going to serve no useful
   19    purpose.
   20                    And for those reasons, I object to any
   21    further continuance in the appointment of a receiver,
   22    and I think the case law is, clearly, that they have not
   23    met their burden, not a scintilla of non-exempt assets.
   24    That's the first hurdle that has to be.        There has to be
   25    some evidence of non-exempt assets.        And they made no

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 25 of 102 PageID #: 203

                                                                           14

    1    attempt today to do it.
    2                    Thank you.
    3                    THE COURT:    Thank you.
    4                    Mr. Yarborough, anything further in
    5    support of the application?
    6                    MR. YARBOROUGH:     Yes, Your Honor.    Very
    7    briefly.
    8                    Mr. Floyd just said to this Court that
    9    there -- that the only bank account that we identified
   10    in post-judgment discovery was -- had the name of one of
   11    Mr. Floyd's daughters on it.      That is categorically not
   12    correct.   If you read the motion, there are six
   13    different Wells Fargo bank accounts controlled by
   14    Mr. Floyd and which Mr. Floyd is a signatory, which are
   15    proper for receiverships that are listed there.         And
   16    each one is identified by account number.        None of this
   17    evidence has been contested.      So for Mr. Floyd to say
   18    there isn't a scintilla of evidence is not accurate.
   19                    And, second, Mr. Floyd misstated the law
   20    about wages here.     The evidence in support of the motion
   21    for non-exempt assets demonstrates there are positive
   22    balances in these bank accounts.       Once wages or any
   23    other income hit a bank account, it's non-exempt.          It's
   24    not wages anymore.     It's only wages when it's still a
   25    paycheck or if it's garnished directly from an employer.

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 26 of 102 PageID #: 204

                                                                           15

    1                    Furthermore, Your Honor, Mr. Floyd does
    2    not say in his responses or tell the Court here today
    3    that these so-called wages are W-2 wages, because
    4    they're not.    They are contractual payments for a
    5    business run by Mr. Floyd that he splits with a business
    6    partner based on accounts under management.         All that is
    7    to say, Your Honor, that we've easily met our burden.
    8                    And I just want to very briefly respond to
    9    the comment about the turnover order.        This Court
   10    entered two different orders to execute this judgment
   11    already.    It entered a writ of execution, authorizing a
   12    sheriff or a constable to visit Mr. Floyd, which
   13    happened.    And then it also issued a turnover order, and
   14    that's the one Mr. Floyd did not comply with.         There is
   15    nothing in the record stating that he actually came to
   16    the sheriff's office and complied with that order.          And
   17    for that reason, Your Honor, we've exhausted all of our
   18    other options.    There is no legal reason, such as a
   19    supersedeas bond, for this receiver not to be appointed,
   20    and because Mr. Floyd hasn't paid a dime on a judgment
   21    that is now final, we believe that this is warranted
   22    here.
   23                    THE COURT:    And with respect to the
   24    argument that this receiver is in Houston, how does that
   25    impact the burdens and the efficiency of any

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 27 of 102 PageID #: 205

                                                                          16

    1    receivership?
    2                    MR. YARBOROUGH:     Your Honor, because most
    3    of the assets in question here are financial assets,
    4    both in terms of bank accounts as well as other
    5    financial accounts, the likelihood is that a receiver
    6    based in Texas -- anywhere in Texas would be equally
    7    qualified to carry out his duties here.        Mr. Kretzer
    8    handles cases around the state.       He is familiar with
    9    North Texas.    He actually clerked for a federal judge in
   10    the Eastern District.     And we don't believe that there
   11    will be any additional burden.       And, furthermore, the
   12    burden will be on the -- will only reduce the recovery,
   13    and we believe that it will de minimis in this case.
   14                    MR. FLOYD:    May I respond to some of that,
   15    Your Honor?
   16                    THE COURT:    Mr. Floyd.
   17                    MR. FLOYD:    First off, he's, more or less,
   18    admitted there are no funds in any accounts.         They
   19    have -- the claimants have done all the post-judgment
   20    discovery.    They have received every single bank
   21    account.   He cannot say that there's a thousand dollars
   22    in all of the accounts, including the ones that
   23    Mr. Philip Floyd had control over.       And there are no
   24    accounts existing today that he has any control over
   25    that have any funds in them.

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 28 of 102 PageID #: 206

                                                                          17

    1                    The other matter is that if a receiver is
    2    appointed, the receiver is supposed to be an officer of
    3    the Court, not an extension of the claimants.         And the
    4    proposed order is excessive.      It, in effect, is -- they
    5    are taking -- claimants are saying, "Judge, we want to
    6    tell you what we want the receiver to do."          If you
    7    receive -- read that proposed order, all it is, "We are
    8    telling the judge to tell the receiver to do what we
    9    have told her to tell him to do."
   10                    THE COURT:    I mean, isn't that every
   11    proposed order, Mr. Floyd?
   12                    MR. FLOYD:    I'm sorry.    What?
   13                    THE COURT:    Isn't that every proposed
   14    order?
   15                    MR. FLOYD:    I've never seen a proposed
   16    order that tells the receiver what he is to do
   17    specifically.    If a receiver is qualified to be a
   18    receiver, he should know what to do.        He shouldn't be
   19    limited and controlled by an order telling him this is
   20    exactly what you've got to do.
   21                    It's overly broad, and it has no -- it
   22    just doesn't comply with what I believe the standard is
   23    for appointing a receiver.      It's not specific.     It's
   24    broad.   It gives him -- if there are assets.        And they
   25    have not shown that there are any assets, and they will

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 29 of 102 PageID #: 207

                                                                          18

    1    never be able to show there are assets.
    2                    MR. YARBOROUGH:     Your Honor, may I briefly
    3    respond with regard to the proposed order?
    4                    THE COURT:    I will give you the final
    5    word, Mr. Yarborough, since it's your application.
    6                    MR. YARBOROUGH:     Thank you, Your Honor.
    7                    All I would like to say about the proposed
    8    order is that the receiver cannot take action without
    9    the authority of the Court.      And so what this proposed
   10    order intends to do is provide the receiver with the
   11    range of authorizations necessary to carry out his or
   12    her duties.
   13                    And, again, as I said at the opening of
   14    this hearing, though we recommend Mr. Kretzer and have
   15    identified him as a qualified and experienced receiver
   16    for this case, we are not opposed to a local receiver
   17    being appointed if Your Honor has someone else in mind.
   18                    MR. FLOYD:    Judge, if the Court is
   19    considering this person as receiver, I would like to
   20    question him.
   21                    THE COURT:    On what basis?
   22                    MR. FLOYD:    On the basis to determine his
   23    qualifications.    You have received no evidence as to his
   24    qualifications today.
   25                    THE COURT:    I don't believe that is

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 30 of 102 PageID #: 208

                                                                          19

    1    necessary.
    2                    I'll take the motion under advisement and
    3    review the proposed orders of the parties.
    4                    If there is nothing further, we'll go off
    5    the record.
    6                    MR. FLOYD:    Thank you.
    7                    MR. YARBOROUGH:     Thank you, Judge.
    8             (The proceedings were concluded at 10:50 a.m.)
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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 31 of 102 PageID #: 209

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    1        STATE OF TEXAS
    2        COUNTY OF COLLIN
    3        I, Denise Carrillo, Official Court Reporter in and
    4    for the 471st District Court of Collin, State of Texas,
    5    do hereby certify that the above and foregoing contains
    6    a true and correct transcription of all portions of
    7    evidence and other proceedings requested in writing by
    8    counsel for the parties to be included in this volume of
    9    the Reporter's Record in the above-styled and numbered
   10    cause, all of which occurred in open court or in
   11    chambers and was reported by me.
   12         I further certify that this Reporter's Record of
   13    the proceedings truly and correctly reflects the
   14    exhibits, if any, offered by the respective parties.
   15         WITNESS MY OFFICIAL HAND this the 28th day of
   16    March, 2023.
   17                                 /s/ Denise Carrillo
                                      Denise Carrillo, CSR, RMR, CRR
   18                                 Texas CSR #9269
                                      Official Court Reporter
   19                                 471st District Court
                                      2100 Bloomdale Rd., Suite 30276
   20                                 McKinney, Texas 75071
                                      Telephone: 972.547.1803
   21                                 dcarrillo@co.collin.tx.us
                                      Expiration: 5/31/2024
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   23
   24
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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 32 of 102 PageID #: 210
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 33 of 102 PageID #: 211
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 34 of 102 PageID #: 212
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 35 of 102 PageID #: 213
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 36 of 102 PageID #: 214
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 37 of 102 PageID #: 215
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 38 of 102 PageID #: 216
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 39 of 102 PageID #: 217
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 40 of 102 PageID #: 218
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 41 of 102 PageID #: 219
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 42 of 102 PageID #: 220
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 43 of 102 PageID #: 221
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 44 of 102 PageID #: 222
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 45 of 102 PageID #: 223
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 46 of 102 PageID #: 224
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 47 of 102 PageID #: 225
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 48 of 102 PageID #: 226
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 49 of 102 PageID #: 227
                                            6/9/2023 2:31 PM SCANNED Page 1
         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 50 of 102 PageID #: 228




                                               CAUSE NO. 47 1 -02423-2021

            PHILIP FLOYD,                                                              IN THE 4715‘ JUDICIAL

                    Plaintiff— Arbitration Respondent
                                                        —


                    Judgment Debtor,

            v.                                                                               DISTRICT COURT

            MMWKM ADVISORS, LLC, Series ERD I,
            and ELIAS DRAGON,

                    Defendants —Arbitration Claimants
                                                            —
                                                                                   COLLIN COUNTY, TEXAS
                    Judgment Creditors.
                                                                                                                       -




                                          ORDER APPOINTING RECEIVER AMA/C ?Ro ‘r‘uu                                c
                    CAME ON to be heard the Motion for Post-Judgment Receivership of Defendants —

             Arbitration Claimants    —
                                          Judgment Creditors MMWKM Advisors,             LLC,      Series   ERD I

             (“Creditors”); whereupon, the Court, after a review of the papers herein on le,       became of the


             opinion that a Receiver should be appointed to take possession of and sell the leviable assets of

             Philip Floyd (“Judgment Debtor”).

                    Based on the pleadings, the evidence and the argument of counsel, the Court nds         that the


             Judgment Debtor owns non-exempt property and that there exists an unpaid nal       judgment against

             him. Notwithstanding any contrary language herein, this order does not compel turnover of

             Judgment Debtor’s homestead or other exempt property.

                    IT IS THEREFORE, ORDERED, ADJUDGED, and DECREED by this Court that Mr.

             Seth Kretzer, Esq., 917 Franklin Street, 6th Floor, Houston, Texas 77002, is hereby appointed

             Receiver in this case pursuant to the Texas Turnover Statute with the power and authority to take

             possession of and sell all leviable property of Judgment Debtor, including, but not limited to the

             following non-exempt property: (1) all documents or records, including nancial        records, related

             to such property that is in the actual or constructive possession or control of the




             Order Appointing Receiver                                                     Page l of 8

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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 51 of 102 PageID #: 229




             Judgment Debtor; (2) all nancial    accounts (bank accounts), certicates     of deposit, money-market

             accounts, accounts held by any third party; (3) all securities‘not held in retirement accounts; (4) all

             real property, equipment, vehicles, boats, and planes; (5) all safety deposit boxes or vaults; (6) all

             cash; (7) all negotiable instruments, including promissory notes, drafts, and checks; (8) all causes

             of action or choses of action; (9) all contract rights, whether present or future; and (l 0) all accounts

             receivable; and that all such property shall be held in custodia legis of said Receiver as of the date

             of this Order.

                     Judgment Debtor is ORDERED to turnover to the Receiver Within ten (10) days from the

             Judgment Debtor’s receipt of a copy of this Order: l) the documents listed below, together with

             all documents and nancial     records which may be requested by the Receiver; 2) all checks, cash,

             securities (stocks and bonds) not held in retirement accounts, promissory notes, documents oftitle,

             and contracts owned by or in the name of the Judgment Debtor:


                     Any and all records, as hereinafter described, concerning affairs of the Judgment
                     Debtors; unless otherwise noted, for the period January l, 2020 through the present:

                         l. Monthly statements for every nancial        institution account in which Philip
                              Floyd has been a signatory or owner since January l, 2020;

                         2.   Cancelled checks and wire transfers for every nancial institution account
                              in which Philip Floyd has been a signatory or owner since January 1, 2020;

                         3.   Copies ofthe articles ofincorporation, Secretary of State charters, operating
                              agreements, membership agreements, and all documents of creation and
                              ownership of any limited liability company, professional corporation,
                              corporation, general partnership, limited partnership, trust or any other
                              corporate entity Philip Floyd currently holds or has held an interest since
                              January l, 2020;

                         4.   Federal income and state franchise tax returns for Philip Floyd and any
                              limited liability company, professional corporation, corporation, general
                              partnership, limited partnership, trust or any other corporate entity in which
                              Philip Floyd currently holds or has held an interest since January l, 2020;

                         5.   All motor vehicle Certicates    of Title owned or leased by Philip Floyd or
                              any limited liability company, professional corporation, corporation,



             Order Appointing Receiver                                                          Page 2 of 8

Copy from re:SearchTX
                                                6/9/2023 2:31 PM SCANNED Page 3
        Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 52 of 102 PageID #: 230




                             general partnership, limited partnership, trust or any other corporate entity
                             in which Philip Floyd currently holds or has held an interest since January
                             1, 2020;

                        6.   Stock certicates    and bonds owned by Philip Floyd that are not held in a
                             retirement account and any limited liability company, professional
                             corporation, corporation, general partnership, limited partnership, trust or
                             any other corporate entity in which Philip Floyd currently holds or has held
                             an interest since January l, 2020;

                        7.   Promissory notes owned by Philip Floyd or any limited liability company,
                             professional corporation, corporation, general partnership, limited
                             partnership, trust or any other corporate entity in which Philip Floyd
                             currently holds or has held an interest since January l, 2020;

                        8.   Bills of sale owned by Philip Floyd or any limited liability company,
                             professional corporation, corporation, general partnership, limited
                             partnership, trust or any other corporate entity in which Philip Floyd
                             currently holds or has held an interest since January 1, 2020;

                        9.   Real property deeds and deeds oftrust (regardless ofdate), owned or interest
                             held by Philip Floyd or any limited liability company, professional
                             corporation, corporation, general partnership, limited partnership, trust or
                             any other corporate entity in which Philip Floyd currently holds or has held
                             an interest since January 1, 2020;

                        lO. Business journals, ledgers, accounts payable and receivable les belonging
                            to Philip Floyd or any limited liability company, professional corporation,
                            corporation, general partnership, limited partnership, trust or any other
                            corporate entity in which Philip Floyd currently holds or has held an interest
                            since January l, 2020;

                        ll. Pledges, security agreements and copies of nancial      statements owned by
                             Philip Floyd  or  any limited  liability company, professional corporation,
                             corporation, general partnership, limited partnership, trust or any other
                             corporate entity in which Philip Floyd currently holds or has held an interest
                             since January l, 2020;

                        12. State sales tax reports led by Philip Floyd or any limited liability company,
                             professional corporation, corporation, general partnership, limited
                             partnership, trust or any other corporate entity in which Philip Floyd
                             currently holds or has held an interest since January l, 2020;

                        l3. Any other record or document evidencing any ownership to real or personal
                            property or to any debt owed or money had (regardless of date) owned or
                            interest held by Philip Floyd or any limited liability company, professional
                             corporation, corporation, general partnership, limited partnership, trust or



             Order Appointing Receiver                                                       Page 3 of 8

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        Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 53 of 102 PageID #: 231




                               any other corporate entity in which Philip Floyd currently holds or has held
                               an interest since January 1, 2020;

                         14.   All personal property returns led with any taxing authority, including but
                               not limited to any Central Appraisal District, led     by Philip Floyd or any
                               limited liability company, professional corporation, corporation, general
                               partnership, limited partnership, trust or any other corporate entity in which
                               Philip Floyd currently holds or has held an interest since January l, 2020;

                         15. All documents listing or summarizing property owned by or held by Philip
                               Floyd or any limited liability company, professional corporation,
                               corporation, general partnership, limited partnership, trust or any other
                               corporate entity in which Philip Floyd currently holds or has held an interest
                               since January 1, 2020; and

                         16. Credit applications and other documents stating Philip Floyd’s nancial
                             condition since January 1, 2020.

                    Judgment Debtor, Philip Floyd, is ORDERED to identify and turn over to the receiver all

             interests of the Judgment Debtor in any business or venture, including limited liability companies

             and limited partnerships, and all agreements, stock certicates      and other documents pertaining to

             the Judgment Debtor’s ownership in the business or venture. Judgment Debtor is ORDERED to


             continue, until the Judgment in this cause is fully paid, to turnover to the Receiver at the Receiver’s

             address all checks, cash, securities, promissory notes, documents oftitle, and contracts within three


             (3) days om       the Judgment Debtor’s receipt and possession of such property, if, as and when


             Judgment Debtor becomes in receipt and possession of any such property. Paychecks for current

             wages are exempt from this order.

                    In light of the refusal of Judgment Debtor to pay the judgment, the Receiver is authorized

             to provide notice of this order, or any discovery requests, or any other document or motion, to


             Judgment Debtor, by delivering such notice and order and discovery requests in any of the

             following manner: (1) to the Judgment Debtor’s home address at by rst-class         U.S. Mail, without

             requiring signature or restricted delivery; (2) to Judgment Debtor’s attorney, by fax, U.S. Mail or




             Order Appointing Receiver                                                         Page 4 of 8
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Copy from re:SearchTX
                                              6/9/2023 2:31 PM SCANNED Page 5
         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 54 of 102 PageID #: 232




             email, unless he or she indicates that he or she no longer represent the Judgment Debtor, or (3) by

             email to the Judgment Debtor’s email address.

                       In addition to the powers of the Receiver set forth herein, the Receiver shall have the

             following rights, authority and powers with respect to the Judgment Debtor’s property, to: 1)               v




             collect all accounts receivable of Judgment Debtor and all rents due to the Judgment Debtor from

             any tenant; 2) to change locks to all premises at which any nonexempt property is situated; 3)

             direct the delivery of Judgment Debtor’s mail and the mail of any business of the Judgment Debtor

             to the Receiver’s address and open all mail directed to Judgment Debtor and any business of the


             Judgment Debtor; 4) endorse and cash all checks and negotiable instruments payable to the

             Judgment Debtor, except paychecks for current wages; 5) hire a real estate broker to sell any real

             property and mineral interest belonging to the Judgment Debtor; 6) hire any person or company to

             move and store the property of the Judgment Debtor; 7) (but not the obligation) to insure any


             property belonging to the Judgment Debtor; 8) obtain from any nancial           institution, bank, credit

             union, credit bureau, savings and loan, title company, or any other third party, any nancial     records


             belonging to or pertaining to the Judgment Debtor; 9) obtain from any Texas state agency or

             ofcial,    Texas county agency or ofcial,   or Texas municipality or ofcial,   any government records

             belonging to or pertaining to the Judgment Debtor, including nancial           and personal identifying


             information; 9) hire any person or company necessary to accomplish any right or power under this

             Order; 10) take all action necessary to gain access to all storage facilities, safety-deposit boxes,

             real property, and leased premises wherein any nonexempt property of the Judgment Debtor may

             be situated, and to review and obtain copies of all documents related to same; and          ll) le   any

             lawsuit necessary to seize or recover any nonexempt assets from any third parties who have

             acquired possession or control.




             Order Appointing Receiver                                                          Page 5 of 8

Copy from re:SearchTX
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        Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 55 of 102 PageID #: 233




                       In addition to the powers of the Receiver set forth herein, the Receiver shall have the right,

             authority and power to request and obtain from the Judgment Debtor’s attorney all les,

             correspondence, emails, records, papers and documents, whether paper or electronic, pertaining to

             Philip Floyd’s ownership of any property or legal interest, or any negotiation of the purchase, sale,

             acquisition or creation of any property or legal interest. This order does not compel to provide any

             documents protected by the attomey—client privilege.

                       In addition to the powers of the Receiver set forth herein, the Receiver shall have the right,

             authority and power to request and obtain from providers of utilities, telecommunications,

             telephone, cell phone, cable, internet, data services, internet website hosts, satellite television

             services, and all similar services, (including Time Warner, AT&T, YouTube TV, Verizon, Sprint,

             Satellite TV, Direct TV, EVl, Google, Yahoo, and internet blogs and chat rooms) compelling the

             production of any information regarding the Judgment Debtor’s payments, payment history and

             nancial      information, including account information, telephone numbers, names, service

             addresses, telephone numbers, IP addresses, call detail records, payment records, and bank and

             credit card information. This Order specically       serves as the court order required by 47 USC §

             551, and satises     all obligations of the responding party to obtain or receive a court order prior to

             disclosing material containing personally identiable           information of the subscriber and/or

             customer.

                       In addition, the Receiver shall have the authority to cooperate with and provide assistance

             to, as he deems best, to any law enforcement ofcer,       ofcial   or grand jury to provide information

             or documents pertaining to any possible criminal act committed by Philip Floyd.


                       Further, the Receiver is authorized to seize all assets of which Philip Floyd is beneciary

             of any trust for which no valid spendthrift provision applies. Any trustee holding money or




             Order Appointing Receiver                                                         Page 6 of 8

Copy from re:SearchTX
                                                 6/9/2023 2:31 PM SCANNED Page 7
        Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 56 of 102 PageID #: 234




             property for the benet         of Philip Floyd is ordered to turn such money or property over to the

             Receiver upon request by the Receiver or to deposit said funds into the Court’s registry. Any

             nancial    institution holding money or property for any trustee for the benet      of Philip Floyd is

             ordered to turn such money or property over to the Receiver upon request by the Receiver or to


             deposit said mds     into the Court’s registry.

                       In addition, the Receiver is authorized to seize the membership interest of any Limited

             Liability Company in which Philip Floyd is a member, and to sell, manage, and operate the Limited

             Liability Company as the Receiver shall think appropriate. In addition, the Receiver is authorized

             to obtain all bank accounts and records and invest accounts and records held by Philip Floyd from


             any nancial     institution.

                       Any Sheriff or Constable, and their deputies, and any other peace ofcer,          are hereby


             directed and ordered to assist the Receiver in carrying out his duties and exercising his powers

             hereunder and prevent any person from interfering with the Receiver in taking control and

             possession of the property of the Judgment Debtor, without the necessity of a Writ of Execution.

             The Receiver is also authorized to direct any Constable or Sheriff to seize and sell property under

             the Writ of Execution issued by this Court on April l, 2023.

                       The Court authorizes and orders any Sheriff or Constable, and their deputies, and any other

             peace ofcer,    to break and open any locks or gates erected by the Judgment Debtor as necessary

             to assist the Receiver and carry out this order.


                         light of the circumstances of this case, the Court sets the bond at $100. 00) whIOI’)   5b“ H
                    Mini?
             be JEFOSIM                         -Hm«      Cauréj heats-['1‘
                       The Receiver’ s fee1s twenty-ve percent (25%) of all gross proceeds coming into his

             possession, not to exceed twenty-ve        percent of the balance due on the judgment, plus any out-of-

             pocket expenses incurred by the Receiver in her scope as a receiver in this case. The Court nds




             Order Appointing Receiver                                                         Page 7 of 8

Copy from re:SearchTX
                                             6/9/2023 2:31 PM SCANNED Page 8
        Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 57 of 102 PageID #: 235




             this a fair, reasonable and necessary fee for the Receiver and the Receiver is further directed and

             authorized to pay Judgment Creditors’ attorney as Trustee for the Creditors the remaining seventy-

             ve   percent (75%) of all proceeds coming into Receiver’s possession, with adjustment for

             Receiver’s expenses as necessary. A11 Receiver’s fees will be taxed as costs against the Debtor,

             which means that the Receiver is authorized to seek and recover 133% of the judgment plus

             expenses. All payments made by the Receiver to the Judgment Creditor shall be applied to the

             Judgment as a credit towards the balance of the Judgment.

                    The Receiver is irther   ordered to take the oath ofher ofce.




                    SIGNED
                                    éP4             23

                                                           HON. JUDGE ANDREA BOURESSA
                                                           4715‘ District Court
                                                           Collin County, Texas




             Order Appointing Receiver                                                     Page 8 of 8

Copy from re:SearchTX
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                                                                                         Michael Gould
                                                                                         District Clerk
                                                                                         Collin County, Texas
                                                                                         By Jaclyn Grayson Deputy
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                                              CAUSE NO. 471-02423-2021

            PHILIP FLOYD,                               §                             IN THE 471st JUDICIAL
                                                        §
                   Plaintiff – Arbitration Respondent – §
                   Judgment Debtor,                     §
                                                        §
             v.                                         §                                   DISTRICT COURT
                                                        §
            MMWKM ADVISORS, LLC, Series ERD I, §
            and ELIAS DRAGON,                           §
                                                        §
                   Defendants – Arbitration Claimants – §                         COLLIN COUNTY, TEXAS
                   Judgment Creditors.                  §

                                   AMENDED ORDER APPOINTING RECEIVER

                    CAME ON to be heard the Motion for Post-Judgment Receivership of Defendants –

             Arbitration Claimants – Judgment Creditors MMWKM Advisors, LLC, Series ERD I

             (“Creditors”); whereupon, the Court, after a review of the papers herein on file, became of the

             opinion that a Receiver should be appointed to take possession of and sell the leviable assets of

             Philip Floyd (“Judgment Debtor”).

                    Based on the pleadings, the evidence and the argument of counsel, the Court finds that the

             Judgment Debtor owns non-exempt property, including but not limited to any rights to payments

             under the March 24, 2021 Investment Advisor Representative Agreement by and between

             Judgment Debtor and Worth Asset Management, LLC, and that there exists an unpaid final

             judgment against him. Notwithstanding any contrary language herein, this order does not compel

             turnover of Judgment Debtor’s homestead or other exempt property.

                    IT IS THEREFORE, ORDERED, ADJUDGED, and DECREED by this Court that Mr.

             Seth Kretzer, Esq., 917 Franklin Street, Sixth Floor, Houston, Texas 77002, is hereby appointed

             Receiver in this case pursuant to the Texas Turnover Statute with the power and authority to take

             possession of and sell all leviable property of Judgment Debtor, including, but not limited to the



             Amended Order Appointing Receiver                                                     Page 1 of 9

Copy from re:SearchTX
         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 59 of 102 PageID #: 237




             following non-exempt property: (1) all documents or records, including financial records, related

             to such property that is in the actual or constructive possession or control of the Judgment Debtor;

             (2) all financial accounts (bank accounts), certificates of deposit, money-market accounts,

             accounts held by any third party; (3) all securities not held in retirement accounts; (4) all real

             property, equipment, vehicles, boats, and planes; (5) all safety deposit boxes or vaults; (6) all cash;

             (7) all negotiable instruments, including promissory notes, drafts, and checks; (8) all causes of

             action or choses of action; (9) all contract rights, whether present or future; and (10) all accounts

             receivable; and that all such property shall be held in custodia legis of said Receiver as of the date

             of this Order.

                    Judgment Debtor is ORDERED to turnover to the Receiver within ten (10) days from the

             Judgment Debtor’s receipt of a copy of this Order: 1) the documents listed below, together with

             all documents and financial records which may be requested by the Receiver; 2) all checks, cash,

             securities (stocks and bonds) not held in retirement accounts, promissory notes, documents of title,

             and contracts owned by or in the name of the Judgment Debtor:

                    Any and all records, as hereinafter described, concerning affairs of the Judgment
                    Debtors; unless otherwise noted, for the period January 1, 2020 through the present:

                        1. Monthly statements for every financial institution account in which Philip
                           Floyd has been a signatory or owner since January 1, 2020;

                        2. Cancelled checks and wire transfers for every financial institution account
                           in which Philip Floyd has been a signatory or owner since January 1, 2020;

                        3. Copies of the articles of incorporation, Secretary of State charters, operating
                           agreements, membership agreements, and all documents of creation and
                           ownership of any limited liability company, professional corporation,
                           corporation, general partnership, limited partnership, trust or any other
                           corporate entity Philip Floyd currently holds or has held an interest since
                           January 1, 2020;

                        4. Federal income and state franchise tax returns for Philip Floyd and any
                           limited liability company, professional corporation, corporation, general



             Amended Order Appointing Receiver                                                        Page 2 of 9

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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 60 of 102 PageID #: 238




                           partnership, limited partnership, trust or any other corporate entity in which
                           Philip Floyd currently holds or has held an interest since January 1, 2020;

                        5. All motor vehicle Certificates of Title owned or leased by Philip Floyd or
                           any limited liability company, professional corporation, corporation,
                           general partnership, limited partnership, trust or any other corporate entity
                           in which Philip Floyd currently holds or has held an interest since January
                           1, 2020;

                        6. Stock certificates and bonds owned by Philip Floyd that are not held in a
                           retirement account and any limited liability company, professional
                           corporation, corporation, general partnership, limited partnership, trust or
                           any other corporate entity in which Philip Floyd currently holds or has held
                           an interest since January 1, 2020;

                        7. Promissory notes owned by Philip Floyd or any limited liability company,
                           professional corporation, corporation, general partnership, limited
                           partnership, trust or any other corporate entity in which Philip Floyd
                           currently holds or has held an interest since January 1, 2020;

                        8. Bills of sale owned by Philip Floyd or any limited liability company,
                           professional corporation, corporation, general partnership, limited
                           partnership, trust or any other corporate entity in which Philip Floyd
                           currently holds or has held an interest since January 1, 2020;

                        9. Real property deeds and deeds of trust (regardless of date), owned or interest
                           held by Philip Floyd or any limited liability company, professional
                           corporation, corporation, general partnership, limited partnership, trust or
                           any other corporate entity in which Philip Floyd currently holds or has held
                           an interest since January 1, 2020;

                        10. Business journals, ledgers, accounts payable and receivable files belonging
                            to Philip Floyd or any limited liability company, professional corporation,
                            corporation, general partnership, limited partnership, trust or any other
                            corporate entity in which Philip Floyd currently holds or has held an interest
                           since January 1, 2020;

                        11. Pledges, security agreements and copies of financial statements owned by
                            Philip Floyd or any limited liability company, professional corporation,
                            corporation, general partnership, limited partnership, trust or any other
                            corporate entity in which Philip Floyd currently holds or has held an interest
                            since January 1, 2020;

                        12. State sales tax reports filed by Philip Floyd or any limited liability company,
                            professional corporation, corporation, general partnership, limited
                            partnership, trust or any other corporate entity in which Philip Floyd
                            currently holds or has held an interest since January 1, 2020;



             Amended Order Appointing Receiver                                                       Page 3 of 9

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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 61 of 102 PageID #: 239




                        13. Any other record or document evidencing any ownership to real or personal
                            property or to any debt owed or money had (regardless of date) owned or
                            interest held by Philip Floyd or any limited liability company, professional
                            corporation, corporation, general partnership, limited partnership, trust or
                            any other corporate entity in which Philip Floyd currently holds or has held
                            an interest since January 1, 2020;

                        14. All personal property returns filed with any taxing authority, including but
                            not limited to any Central Appraisal District, filed by Philip Floyd or any
                            limited liability company, professional corporation, corporation, general
                            partnership, limited partnership, trust or any other corporate entity in which
                            Philip Floyd currently holds or has held an interest since January 1, 2020;

                        15. All documents listing or summarizing property owned by or held by Philip
                            Floyd or any limited liability company, professional corporation,
                            corporation, general partnership, limited partnership, trust or any other
                            corporate entity in which Philip Floyd currently holds or has held an interest
                            since January 1, 2020; and

                        16. Credit applications and other documents stating Philip Floyd’s financial
                            condition since January 1, 2020.

                    Judgment Debtor, Philip Floyd, is ORDERED to identify and turn over to the receiver all

             interests of the Judgment Debtor in any business or venture, including limited liability companies

             and limited partnerships, and all agreements, stock certificates and other documents pertaining to

             the Judgment Debtor’s ownership in the business or venture. Judgment Debtor is ORDERED to

             continue, until the Judgment in this cause is fully paid, to turnover to the Receiver at the Receiver’s

             address of 917 Franklin Street, Sixth Floor, Houston, Texas 77002, all checks, cash, securities,

             promissory notes, documents of title, and contracts (including but not limited to Investment

             Advisor Representative Agreements with Worth Asset Management, LLC, SEC#:801-122206)

             within three (3) days from the Judgment Debtor’s receipt and possession of such property, if, as

             and when Judgment Debtor becomes in receipt and possession of any such property. Paychecks

             for current wages are exempt from this order.

                    In light of the refusal of Judgment Debtor to pay the judgment, the Receiver is authorized

             to provide notice of this order, or any discovery requests, or any other document or motion, to


             Amended Order Appointing Receiver                                                        Page 4 of 9

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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 62 of 102 PageID #: 240




             Judgment Debtor, by delivering such notice and order and discovery requests in any of the

             following manner: (1) to the Judgment Debtor’s home address at by first-class U.S. Mail, without

             requiring signature or restricted delivery; (2) to Judgment Debtor’s attorney, by fax, U.S. Mail or

             email, unless he or she indicates that he or she no longer represent the Judgment Debtor, or (3) by

             email to the Judgment Debtor’s email address.

                     In addition to the powers of the Receiver set forth herein, the Receiver shall have the

             following rights, authority and powers with respect to the Judgment Debtor’s property, to: 1)

             collect all accounts receivable of Judgment Debtor and all rents due to the Judgment Debtor from

             any tenant; 2) to change locks to all premises at which any nonexempt property is situated; 3)

             direct the delivery of Judgment Debtor’s mail and the mail of any business of the Judgment Debtor

             to the Receiver’s address and open all mail directed to Judgment Debtor and any business of the

             Judgment Debtor; 4) endorse and cash all checks and negotiable instruments payable to the

             Judgment Debtor, except paychecks for current wages; 5) hire a real estate broker to sell any real

             property and mineral interest belonging to the Judgment Debtor; 6) hire any person or company to

             move and store the property of the Judgment Debtor; 7) (but not the obligation) to insure any

             property belonging to the Judgment Debtor; 8) obtain from any financial institution, bank, credit

             union, credit bureau, savings and loan, title company, or any other third party, any financial records

             belonging to or pertaining to the Judgment Debtor; 9) obtain from any Texas state agency or

             official, Texas county agency or official, or Texas municipality or official, any government records

             belonging to or pertaining to the Judgment Debtor, including financial and personal identifying

             information; 10) hire any person or company necessary to accomplish any right or power under

             this Order; 11) take all action necessary to gain access to all storage facilities, safety-deposit boxes,

             real property, and leased premises wherein any nonexempt property of the Judgment Debtor may




             Amended Order Appointing Receiver                                                         Page 5 of 9

Copy from re:SearchTX
         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 63 of 102 PageID #: 241




             be situated, and to review and obtain copies of all documents related to same; 12) file any lawsuit

             necessary to seize or recover any nonexempt assets from any third parties who have acquired

             possession or control; 13) direct Worth Asset Management, LLC (SEC#:801-122206), and any

             other party with whom Mr. Floyd or any entity he controls has any contractual rights to payments,

             to deliver to Receiver, at 917 Franklin Street, Sixth Floor, Houston, Texas 77002, all past and

             future records of payments to Mr. Floyd under the March 24, 2021 Investment Advisor

             Representative Agreement by and between Worth Asset Management, LLC and Mr. Floyd and

             such other payment records related to the same as Receiver shall request; and (14) direct Worth

             Asset Management, LLC (SEC#:801-122206), and any other party with whom Mr. Floyd or any

             entity he controls has any contractual rights to payments, to timely direct and make all future

             payments owed to Mr. Floyd under the March 24, 2021 Investment Advisor Representative

             Agreement when due under the terms of that Agreement (including Exhibit A thereof), directly to

             Receiver, at 917 Franklin Street, Sixth Floor, Houston, Texas 77002.

                    In addition to the powers of the Receiver set forth herein, the Receiver shall have the right,

             authority and power to request and obtain from the Judgment Debtor’s attorney all files,

             correspondence, emails, records, papers and documents, whether paper or electronic, pertaining to

             Philip Floyd’s ownership of any property or legal interest (e.g. contractual interest), or any

             negotiation of the purchase, sale, acquisition or creation of any property or legal interest. This

             order does not compel to provide any documents protected by the attorney-client privilege.

                    In addition to the powers of the Receiver set forth herein, the Receiver shall have the right,

             authority and power to request and obtain from providers of utilities, telecommunications,

             telephone, cell phone, cable, internet, data services, internet website hosts, satellite television

             services, and all similar services, (including Time Warner, AT&T, YouTube TV, Verizon, Sprint,




             Amended Order Appointing Receiver                                                      Page 6 of 9

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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 64 of 102 PageID #: 242




             Satellite TV, Direct TV, EV1, Google, Yahoo, and internet blogs and chat rooms) compelling the

             production of any information regarding the Judgment Debtor’s payments, payment history and

             financial information, including account information, telephone numbers, names, service

             addresses, telephone numbers, IP addresses, call detail records, payment records, and bank and

             credit card information. This Order specifically serves as the court order required by 47 USC §

             551, and satisfies all obligations of the responding party to obtain or receive a court order prior to

             disclosing material containing personally identifiable information of the subscriber and/or

             customer.

                    In addition, the Receiver shall have the authority to cooperate with and provide assistance

             to, as he deems best, to any law enforcement officer, official or grand jury to provide information

             or documents pertaining to any possible criminal act committed by Philip Floyd.

                    Further, the Receiver is authorized to seize all assets of which Philip Floyd is beneficiary

             of any trust for which no valid spendthrift provision applies. Any trustee holding money or

             property for the benefit of Philip Floyd is ordered to turn such money or property over to the

             Receiver upon request by the Receiver or to deposit said funds into the Court’s registry. Any

             financial institution holding money or property for any trustee for the benefit of Philip Floyd is

             ordered to turn such money or property over to the Receiver upon request by the Receiver or to

             deposit said funds into the Court’s registry.

                    In addition, the Receiver is authorized to seize the membership interest of any Limited

             Liability Company in which Philip Floyd is a member, and to sell, manage, and operate the Limited

             Liability Company as the Receiver shall think appropriate. In addition, the Receiver is authorized

             to obtain all bank accounts and records and invest accounts and records held by Philip Floyd from

             any financial institution.




             Amended Order Appointing Receiver                                                       Page 7 of 9

Copy from re:SearchTX
         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 65 of 102 PageID #: 243




                    Any Sheriff or Constable, and their deputies, and any other peace officer, are hereby

             directed and ordered to assist the Receiver in carrying out his duties and exercising his powers

             hereunder and prevent any person from interfering with the Receiver in taking control and

             possession of the property of the Judgment Debtor, without the necessity of a Writ of Execution.

             The Receiver is also authorized to direct any Constable or Sheriff to seize and sell property under

             the Writ of Execution issued by this Court on September 7, 2022.

                    The Court authorizes and orders any Sheriff or Constable, and their deputies, and any other

             peace officer, to break and open any locks or gates erected by the Judgment Debtor as necessary

             to assist the Receiver and carry out this order.

                    In light of the circumstances of this case, the Court set the bond at $100.00, which was

             deposited into the Court’s registry on June 9, 2023.

                    The Receiver’s fee is twenty-five percent (25%) of all gross proceeds coming into his

             possession, not to exceed twenty-five percent of the balance due on the judgment, plus any out-of-

             pocket expenses incurred by the Receiver in his scope as a receiver in this case. The Court finds

             this a fair, reasonable and necessary fee for the Receiver and the Receiver is further directed and

             authorized to pay Judgment Creditors’ attorney as Trustee for the Creditors the remaining seventy-

             five percent (75%) of all proceeds coming into Receiver’s possession, with adjustment for

             Receiver’s expenses as necessary. All Receiver’s fees will be taxed as costs against the Debtor,

             which means that the Receiver is authorized to seek and recover 133% of the judgment plus

             expenses. All payments made by the Receiver to the Judgment Creditor shall be applied to the

             Judgment as a credit towards the balance of the Judgment.

                    The Receiver took the oath of his office on June 9, 2023.




             Amended Order Appointing Receiver                                                    Page 8 of 9

Copy from re:SearchTX
         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 66 of 102 PageID #: 244



                            8/12/2023
                    SIGNED ___________________________



                                                     ____________________________________
                                                     HON. JUDGE ANDREA BOURESSA
                                                     471st District Court
                                                     Collin County, Texas

             Agreed as to Form:


              /s/ Seth Kretzer, Esq.      /s/ Patrick Yarborough, Esq.

              Seth Kretzer, Esq.          Patrick Yarborough, Esq.
              Court-Appointed Receiver    Counsel for Judgment
                                          Creditors MMWKM
                                          Advisors, LLC, Series ERD I,
                                          and Elias Dragon




             Amended Order Appointing Receiver                                      Page 9 of 9

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        Patrick Yarborough on behalf of Patrick Yarborough
        Bar No. 24084129
        patrick@fosteryarborough.com
        Envelope ID: 78332709
        Filing Code Description: Proposed Order
        Filing Description: [Proposed] Amended Order Appointing Receiver
        Status as of 8/14/2023 9:57 AM CST

        Associated Case Party: Philip Floyd

         Name                 BarNumber    Email                            TimestampSubmitted Status

         Douglas TFloyd                    Lawyerfloyd@aol.com              8/8/2023 5:37:39 PM   SENT

         Gerrit M.Pronske                  gpronske@spencerfane.com         8/8/2023 5:37:39 PM   SENT

         Chad A.Norcross                   Chad.norcross@norcrosslaw.com 8/8/2023 5:37:39 PM      SENT



        Associated Case Party: MMWKM Advisors, LLC

         Name                  BarNumber     Email                          TimestampSubmitted    Status

         Ryan Hackney                        rhackney@azalaw.com            8/8/2023 5:37:39 PM   SENT

         Andrea Caswell                      acaswell@azalaw.com            8/8/2023 5:37:39 PM   SENT

         Tammi Byrd                          tbyrd@azalaw.com               8/8/2023 5:37:39 PM   SENT

         Tara Gaffney                        tgaffney@azalaw.com            8/8/2023 5:37:39 PM   SENT

         Alejandra Ramos                     aramos@azalaw.com              8/8/2023 5:37:39 PM   SENT

         Patrick Yarborough                  patrick@fosteryarborough.com 8/8/2023 5:37:39 PM     SENT

         Numera Dehri                        ndehri@azalaw.com              8/8/2023 5:37:39 PM   SENT

         Patrick Yarborough                  patrick@ecf.courtdrive.com     8/8/2023 5:37:39 PM   SENT



        Case Contacts

         Name               BarNumber Email                         TimestampSubmitted Status

         Seth Kretzer       24043764      seth@kretzerfirm.com      8/8/2023 5:37:39 PM   SENT

         Jesseca Wilson                   jesseca@kretzerfirm.com   8/8/2023 5:37:39 PM   SENT




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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 68Filed:
                                                                         of 2/21/2024
                                                                             102 PageID
                                                                                      1:58 PM#: 246
                                                                                     Michael Gould
                                                                                     District Clerk
                                                                                     Collin County, Texas
                                                                                     By Tessa Castle Deputy
                                                                                     Envelope ID: 84745108


                                            Cause N0. 471-02423-2021

                 PHILIP FLOYD,                                 §   IN THE DISTRICT COURT

                     Plaintiff — Judgment Debtor,              g


                v.                                             g   4715T JUDICIAL DISTRICT

                MMWKM ADVISORS, LLC, Series ERD,               g
                I, and ELIAS DRAGON,                           §


                     Defendants — Judgment Creditors.          g   COLLIN COUNTY, TEXAS


                          ORDER FOR TURNOVER OF $35,000 CHECK FROM
                          AMERICAN GENERAL LIFE INSURANCE COMPANY

                        ON THIS DAY the Court considered the Receiver’s Motion for Turnover

                 Order to Debtor Floyd, and nds     that Receiver, Seth Kretzer, is entitled to this

                 Order for Turnover. The Court nds       as follows:

                        Debtor Floyd possesses a check for $35,000 drawn on the account of

                American General Life Insurance Company.

                        This $35,000 check is a paid commission to Floyd which is not exempt

                and is subject to turnover. This nding     is based upon the face of the document.

                        The Court declined Debtor Floyd’s request for an evidentiary hearing to

                establish that the check should be otherwise characterized, based on the

                 Court’s determination that such evidence was not necessary and based on the

                history of delay tactics, misrepresentations, and lack of candor to the Court on

                behalf of Debtor Floyd.




                                                                       Page 1 of 3

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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 69 of 102 PageID #: 247




                        Specically,   the Court received a “Notice of Stay” led    on behalf of

                 Debtor Floyd which sought to invoke, unilaterally, an interlocutory stay based

                 on Debtor Floyd’s ongoing appeal of a post-judgment receivership order.

                 Counsel offered no legal authority as to how a statutory stay of interlocutory

                orders was applicable to a post-judgment receivership order. The Court nds

                that counsel’s objection to the hearing on that ground lacked any merit, and

                was made frivolously and groundlessly, for purposes of delay.

                        The Court further notes that Debtor Floyd made two alternative

                arguments for characterization of the check during today’s hearing, neither of

                which being consistent with the representations of the same attorney in his

                written correspondence to opposing counsel about the check. Likewise, Debtor

                 Floyd previously allowed a hearing t0 proceed concerning whether certain

                contractual payments were subject to the receivership order despite knowing

                that the contract at issue had already been re-negotiated by Debtor Floyd for

                the purpose of creating an employment relationship between the contracting

                parties for the benet    of Debtor Floyd, without mentioning such fact to the

                 Court at the time of the hearing.

                        On such a history, the Court declined Debtor Floyd’s request to offer

                testimony by Debtor Floyd to further change the characterization of money

                owing     to Debtor Floyd, and instead adopted the characterization of the check

                 as represented on its face: a paid commission, which the Court nds       is not

                exempt.




                                                                    Page 2 of 3

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         Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 70 of 102 PageID #: 248




                        IT IS THEREFORE ORDERED that Receiver’s Motion for Turnover
                 Order to Debtor Floyd, LLC is GRANTED.

                        IT IS FURTHER ORDERED that Debtor Floyd shall deliver to Receiver
                the $35,000 check, fully endorsed, Within three (3) business days of this Order,

                as required under the specic    terms of the August 12, 2023 Amended Order

                Appointing Receiver.


                        SIGNED



                                                        HON. JUDGE ANDREA BOURESSA
                                                        4715T DISTRICT COURT
                                                        COLLIN COUNTY, TEXAS




                                                                   Page 3 of 3

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        Envelope ID: 84745108
        Filing Code Description: Court Action-Signed Order
        Filing Description: Turnover
        Status as of 2/22/2024 4:44 PM CST

        Associated Case Party: Philip Floyd

         Name                 BarNumber    Email                           TimestampSubmitted Status

         Douglas TFloyd                    Lawyerfloyd@aol.com             2/21/2024 1:58:55 PM     SENT

         Gerrit M.Pronske                  gpronske@spencerfane.com        2/21/2024 1:58:55 PM     SENT

         Chad A.Norcross                   Chad.norcross@norcrosslaw.com 2/21/2024 1:58:55 PM       SENT



        Associated Case Party: MMWKM Advisors, LLC

         Name                  BarNumber    Email                          TimestampSubmitted       Status

         Ryan Hackney                       rhackney@azalaw.com            2/21/2024 1:58:55 PM     SENT

         Andrea Caswell                     acaswell@azalaw.com            2/21/2024 1:58:55 PM     SENT

         Tammi Byrd                         tbyrd@azalaw.com               2/21/2024 1:58:55 PM     SENT

         Lindie Johnston                    lindie@fosteryarborough.com    2/21/2024 1:58:55 PM     SENT

         Tara Gaffney                       tgaffney@azalaw.com            2/21/2024 1:58:55 PM     SENT

         Patrick Yarborough                 patrick@fosteryarborough.com   2/21/2024 1:58:55 PM     SENT

         Patrick Yarborough                 patrick@ecf.courtdrive.com     2/21/2024 1:58:55 PM     SENT

         Lauren L.Veillon                   Lauren@fosteryarborough.com 2/21/2024 1:58:55 PM        ERROR



        Case Contacts

         Name                 BarNumber    Email                    TimestampSubmitted     Status

         Seth Kretzer         24043764     seth@kretzerfirm.com     2/21/2024 1:58:55 PM   SENT

         Alejandra Ramos                   aramos@azalaw.com        2/21/2024 1:58:55 PM   SENT

         Jesseca Wilson                    jesseca@kretzerfirm.com 2/21/2024 1:58:55 PM    SENT

         Numera Dehri                      ndehri@azalaw.com        2/21/2024 1:58:55 PM   SENT



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        Envelope ID: 84745108
        Filing Code Description: Court Action-Signed Order
        Filing Description: Turnover
        Status as of 2/22/2024 4:44 PM CST

        Associated Case Party: Seth Kretzer

         Name           BarNumber   Email              TimestampSubmitted Status

         Dana E.Lipp                dana@lipplegal.com 2/21/2024 1:58:55 PM   SENT




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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 73 of 102 PageID #: 251




    1                              REPORTER'S RECORD
    2                      COURT CAUSE NO. 471-02423-2021
    3
    4
    5    PHILIP FLOYD,                   ) IN THE DISTRICT COURT
                                         )
    6           Plaintiff,               )
                                         )
    7    VS.                             ) COLLIN COUNTY, TEXAS
                                         )
    8    MMWKM ADVISORS, LLC, and        )
         ELIAS DRAGON,                   )
    9                                    )
                Defendants.              ) 471ST JUDICIAL DISTRICT
   10
   11
   12
   13    *******************************************************
   14                                   HEARING
   15                              FEBRUARY 21, 2024
   16    *******************************************************
   17
   18
   19
   20
   21              On the 21st day of February, 2024, the following
   22    proceedings came on to be held in the above-titled and
   23    numbered cause before the Honorable Andrea Bouressa,
   24    Presiding Judge, in McKinney, Collin County, Texas.
   25    Proceedings reported by realtime machine shorthand.

                          Denise Carrillo, CSR, RMR, CRR
                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 74 of 102 PageID #: 252

                                                                           2

    1                           A P P E A R A N C E S
    2    FOR THE PLAINTIFF:
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            Norcross Law
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    9       Phone: (214)368-9300
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   10
         FOR THE DEFENDANTS:
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            MS. LAUREN YARBOROUGH
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   14       917 Franklin Street, Suite 220
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   16
   17    RECEIVER:
   18       MR. SETH KRETZER
            SBOT NO. 24043764
   19       The Law Offices of Seth Kretzer
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            Phone: (713)775-3050
   21       Email: seth@kretzerfirm.com
                   -and-
   22       MS. DANA E. LIPP
            SBOT NO. 24050935
   23       Lipp Legal, PLLC
            5301 Village Creek Drive, Suite A
   24       Plano, Texas 75093
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   25       Email: dlipp@lipplegal.com

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 75 of 102 PageID #: 253

                                                                           3

    1                                    INDEX
    2                                   HEARING
    3    February 21, 2024
    4                                                          PAGE
    5    Caption ...........................................1
    6    Appearances........................................2
    7    Proceedings........................................4
    8    End of Proceedings................................29
    9    Reporter's Certificate ...........................30
   10
   11
   12
   13
   14
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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 76 of 102 PageID #: 254

                                                                           4

    1                           P R O C E E D I N G S
    2               (Wednesday, February 21, 2024, 10:31 a.m.)
    3                    THE COURT:    We'll go on the record in
    4    Cause No. 471-02423-2021.
    5                    Who all do we have appearing this morning?
    6                    MR. YARBOROUGH:     Your Honor, Patrick
    7    Yarborough and Lauren Yarborough here for judgment
    8    creditors, MMWKM Advisors, Series ERD 1, and Elias
    9    Dragon.
   10                    MR. KRETZER:    Good morning, Your Honor.
   11    Seth Kretzer, court-appointed receiver.        And with me is
   12    Ms. Dana Lipp, L-i-p-p.
   13                    MR. FLOYD:    Douglas Floyd for Philip
   14    Floyd, Your Honor.
   15                    MR. NORCROSS:    Chad Norcross.     I'm
   16    present.
   17                    THE COURT:    Mr. Norcross, you are
   18    co-counsel for Philip Floyd?
   19                    MR. NORCROSS:    Yes.   I have been on the
   20    case the whole time, but he's been doing all the work.
   21                    THE COURT:    Y'all can be seated.
   22                    Are there any appellate matters still
   23    pending?
   24                    MR. KRETZER:    The Dallas Court of Appeals
   25    affirmed last week.     I believe Mr. Floyd filed a

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 77 of 102 PageID #: 255

                                                                             5

    1    petition for either a panel rehearing or en banc
    2    rehearing, but your order has been affirmed.
    3                    THE COURT:    I'm sorry.    I didn't hear the
    4    end of that.
    5                    MR. KRETZER:    Your order has been
    6    affirmed.   I believe Mr. Floyd has filed a petition
    7    either for panel or en banc rehearing.        I don't recall.
    8    But the turnover order itself was affirmed by an opinion
    9    dated last week.
   10                    MR. YARBOROUGH:     Yes, Your Honor.    I
   11    believe it was dated February 12, 2024.        That was the
   12    opinion affirming the receivership order.        And the
   13    underlying final judgment also was affirmed in December
   14    of 2023, the day after the December hearing in this
   15    case.
   16                    MR. KRETZER:    So to answer your question
   17    directly, Your Honor, there is -- in the limited sense,
   18    Mr. Floyd has the petition for rehearing pending, but
   19    unless something happens there -- and then, of course,
   20    the judgment was never superseded to begin with.
   21                    THE COURT:    I am just trying to verify.       I
   22    recall there being something about a stay.         And the stay
   23    only applies to the trial; is that accurate?
   24                    MR. NORCROSS:    Your Honor, Mr. Floyd's
   25    hearing aid is not working.      So I am going to have to

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 78 of 102 PageID #: 256

                                                                           6

    1    try to help him understand.      I don't think he heard you.
    2                    The judge wanted to know if there are any
    3    appellate matters pending.
    4                    MR. FLOYD:    Well, there is a motion for
    5    rehearing filed on the August 8th order -- or
    6    August 12th.
    7                    THE COURT:    Is that the receivership order
    8    or the judgment?
    9                    MR. FLOYD:    That's the receivership order.
   10                    THE COURT:    Okay.   And so my follow-up
   11    question is, then, the appellate stay that -- the 51.014
   12    stay is only for a trial, correct?       It does not apply to
   13    this proceeding?
   14                    MR. FLOYD:    It does not apply to this
   15    proceeding?    I'm not sure I understand the question.
   16                    THE COURT:    Well, there was a filing of
   17    some type of notice of stay, I thought.
   18                    MR. FLOYD:    Well, I filed a notice of stay
   19    under the -- automatic stay, that anytime a receiver is
   20    appointed and an appeal is filed, there is an automatic
   21    stay that goes in.     And I am going to renew my objection
   22    to your overruling that stay.
   23                    THE COURT:    Well, I haven't overruled the
   24    stay.    That's why I am starting the hearing with that
   25    issue.

                          Denise Carrillo, CSR, RMR, CRR
                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 79 of 102 PageID #: 257

                                                                           7

    1                    MR. NORCROSS:    She wants to know if the
    2    stay applies to the whole case or just to the trial.
    3                    MR. FLOYD:    It applies to anything the
    4    receiver does.
    5                    THE COURT:    And what provision of the
    6    statute are you relying on for that?
    7                    MR. FLOYD:    In the motion I filed.      I
    8    don't recall right now.      I received an email from the
    9    court coordinator that you had overruled that or were
   10    not going to comply with that so --
   11                    MR. NORCROSS:    She said she hadn't ruled
   12    on it yet.
   13                    MR. FLOYD:    It was my understanding that
   14    the email said that you had already decided that it was
   15    overruled.   So I just let that issue go until today.
   16                    THE COURT:    I believe the Court's
   17    communication was that the parties should be prepared
   18    for the hearing because I -- we don't typically cancel
   19    hearings based on one party's unilateral assertion of a
   20    stay.   So you can't unilaterally decide there's a stay
   21    and cancel the hearings.
   22                    So what we do is we come to court, and we
   23    talk about it, and then I decide whether or not I agree
   24    with you as to whether there is a stay.        And I am asking
   25    you if you have any statutory authority for the position

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 80 of 102 PageID #: 258

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    1    that the stay of -- that the appeal of the receivership
    2    order stays all of the proceedings in the court, because
    3    as I read Section 51.014, which you cited in your
    4    notice, it states, "An interlocutory appeal under
    5    Subsection (a)(3), (5), (8), or (12) also stays all
    6    other proceedings in the trial court pending resolution
    7    of that appeal."    And a receivership order is (a)(1).
    8    It's not in that list.     So I am trying to find out what
    9    authority you have for the premise that all of the
   10    proceedings are stayed in the absence of (a)(1) having
   11    been included in that list.
   12                    MR. FLOYD:    I did not understand that that
   13    was the purpose of the hearing today.        I did not come
   14    prepared to argue that.      I assumed, based on what I got,
   15    what I received, that you did not agree with the motion,
   16    and there was nothing that said we were setting it for
   17    discussion today.
   18                    THE COURT:    Well, just to be clear, the
   19    Court does not resolve issues by email, and the Court
   20    doesn't issue orders or make decisions by email.          So
   21    when you file a notice of stay and you want to know if
   22    your hearing is still going, it's still going until we
   23    have a hearing about your notice of stay and whether or
   24    not it's in effect.     So that's why we are starting there
   25    today.

                          Denise Carrillo, CSR, RMR, CRR
                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 81 of 102 PageID #: 259

                                                                           9

    1                    If the stay doesn't apply, then we move
    2    forward with the hearing that was set.        If the stay does
    3    apply, if I think you might be right, then we cancel the
    4    rest of the hearing.     But I don't grant relief by email,
    5    and I don't allow parties to unilaterally cancel
    6    hearings just by filing a notice of stay.        That's not
    7    how things work in this court.       Everyone gets an
    8    opportunity to be heard.      So this is your opportunity to
    9    argue why you think the hearing shouldn't go forward.
   10                    MR. FLOYD:    It is my interpretation under
   11    the law, under that section, that it is an automatic
   12    stay that remains in effect until there is a final
   13    hearing on the issue of the receiver.        That's the only
   14    argument that I can give since I was not prepared to do
   15    that today.    I would have expended much more time
   16    preparing for this if I had known that was the issue.
   17    The issue today was solely the determination of a
   18    particular check.     That's all that was set for today.
   19    So I guess I misunderstood what was done back in -- when
   20    I filed the notice of stay.
   21                    THE COURT:    Perhaps my court is different.
   22    We don't typically allow folks to unilaterally cancel
   23    hearings.   That's just not how we do things.        Everybody
   24    gets the chance to be heard.      If you're not prepared to
   25    go forward on your objection to the hearing today, then

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 82 of 102 PageID #: 260

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    1    we're just going to move on to the hearing.
    2                    MR. FLOYD:    I didn't catch the last word
    3    you said.
    4                    THE COURT:    Okay.   If you are not prepared
    5    to go forward on your objection to the hearing, we will
    6    just go on to the hearing.
    7                    MR. FLOYD:    Okay.
    8                    THE COURT:    Okay.   So we'll start with the
    9    motion for turnover, then.
   10                    MR. FLOYD:    Are you overruling my
   11    objection to having a hearing today?
   12                    THE COURT:    To the extent you haven't
   13    already asserted it or -- you are telling me you are not
   14    prepared to argue it.     I can't make heads or tails of
   15    your position.
   16                    MR. FLOYD:    Well, I am objecting to having
   17    a hearing today based on my interpretation of the law
   18    that an automatic stay is in place.        That's my evidence.
   19    That's my argument.     If you are overruling it --
   20                    THE COURT:    Are you telling me I am
   21    reading the statute incorrectly when I read it verbatim
   22    and it says that it only applies to Sections (a)(3),
   23    (5), (8), or (12) and the receivership order is (a)(1)?
   24                    MR. FLOYD:    I am saying that the way I
   25    read the statute, there's an automatic stay in effect.

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 83 of 102 PageID #: 261

                                                                            11

    1                    THE COURT:    Okay.   Then your objection is
    2    overruled, and we will move on to the motion for
    3    turnover.
    4                    MR. KRETZER:    Judge, this is my motion for
    5    turnover.   The basis is somewhat straightforward.         After
    6    we were here, most recently, in January, the Friday of
    7    that week, I received a letter from Mr. Floyd.         It's
    8    found on Page 3 of the written motion.        And he attached
    9    to that letter a check payable to Philip Floyd,
   10    the judgment debtor, the exact amount of $35,000,
   11    payable by the American General Life Insurance Company.
   12                    I would note, Judge, that the "Pay To The
   13    Order" line, it lists Mr. Floyd's address at 16660
   14    Dallas Parkway, which is the address of Worth Asset
   15    Management, the CEO from whom you've heard previously.
   16    And then, at the bottom of the check, it says
   17    "Commissions:    Period ending January 12, 2024."
   18                    This is, obviously, not a wage.       Mr. Floyd
   19    testified for several hours in December.        He is adamant,
   20    passionate -- contrary to your prior ruling -- that he
   21    is an employee of Worth Asset Management.        He never said
   22    anything about being an employee of American General
   23    Life Insurance Company.
   24                    This check, by its own words, says
   25    "Commission."    There is, obviously, no FICA taxes, and

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 84 of 102 PageID #: 262

                                                                          12

    1    it's in the exact amount of $35,000.        This is,
    2    obviously, an asset.     It cannot be a wage asset.
    3                    Mr. Floyd's letter, as we produced on
    4    Page 2, Judge, proposed to put that money into the
    5    registry of the court.     I don't think anyone can make a
    6    deposit into the registry of a court without a court
    7    order.   But my position would be this necessarily comes
    8    within the ambit of the turnover order.
    9                    Mr. Floyd has testified in December in
   10    this court, Judge, that he has no bank account.         He is
   11    adamant that he simply takes the check he receives every
   12    month from Worth Asset Management to the issuing bank --
   13    I believe Legacy Bank here in Collin County -- and he
   14    walks out with about $16,000 of cash.        That's how he has
   15    been avoiding the turnover order with regard to the
   16    payments from Worth Asset Management.        He gives this
   17    money to his wife, and she pays their bills with it.
   18                    Putting all that to the side, Judge, here
   19    we have a check from a completely different company.
   20    He's never claimed to work there.       It says it's
   21    commissions.    It's an exact amount.      There is no wage
   22    withholding.    He doesn't work at American General Life
   23    Insurance Company.     By every possible definition,
   24    this is not a wage.     It's not even a wage under the
   25    arguments they have maintained since last summer since

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 85 of 102 PageID #: 263

                                                                          13

    1    it does not come from Worth Asset Management.
    2                    For those reasons, Judge, I think instead
    3    of putting this money into the registry of the court,
    4    Debtor Floyd, who is here in the courtroom, should be
    5    ordered to endorse the check and hand it to me, and I
    6    will deposit it into my trust account, and it will be
    7    the first payment that will have been made as a credit
    8    against the judgment, which, of course, as we know, has
    9    now been affirmed on appeal.
   10                    THE COURT:    All right.    And the response
   11    on the motion to turn over.
   12                    MR. FLOYD:    Judge, we're opposed to the
   13    turnover order because the particular check was issued
   14    in error.    Mr. Floyd, Philip Floyd, is an employee of
   15    WAM.   He was performing as his services for an employee
   16    of WAM.    And the evidence will show that this is in the
   17    normal course of his business that he handles when he
   18    provides advice and counsel to clients as a financial
   19    advisor.
   20                    One of the clients requested that an
   21    annuity be set up from that client's account.         And
   22    Mr. Floyd then, as an employee of WAM, contacted an
   23    insurance company to issue an annuity in the amount of
   24    $500,000, and they issued an annuity.        And, ordinarily,
   25    the insurance company would send the check to WAM, but,

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 86 of 102 PageID #: 264

                                                                            14

    1    for some reason, it did not or they would not send it to
    2    WAM.   It's a little more complicated.       The SEC
    3    regulations have a little more complications in there.
    4    They would send it to an intermediary, who would then
    5    send it to WAM.
    6                    We're in a transition stage in the
    7    technology.    This is normally done or often done
    8    electronically.    In this case, an actual check was sent
    9    to Mr. Floyd at his employment office, WAM, and I felt
   10    that it was in -- we should, at least, advise the
   11    receiver that he had mistakenly received a check.          It is
   12    not his money.    It is earned income if it is his money,
   13    in which case, if it is earned income, is subject to IRS
   14    withholdings and other withholdings.
   15                    So there are two different issues here.
   16    Either he is an employee -- which he is -- of WAM, and
   17    the check was misdirected, and the wrong name was put on
   18    it, and it should be turned over to WAM because it's
   19    their money.    That's one issue.
   20                    The second issue, if you say, no, it
   21    shouldn't be turned over to WAM, based on the evidence
   22    of Mr. Floyd's testimony, it should be treated as some
   23    other type of income, which I don't know what the
   24    receiver is going to claim that other type of income is,
   25    there is another class of income under 42.001(d) of the

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 87 of 102 PageID #: 265

                                                                          15

    1    Property Code that makes this payment for personal
    2    services.
    3                    So we have got these two issues.       In one
    4    case, it is money that is owed to WAM.        It does not
    5    belong to Mr. Floyd.     The other issue, if you determine
    6    that it does not belong to WAM, then the alternative is
    7    it's earned income under 42.001(d) and those are exempt
    8    from seizure.
    9                    MR. YARBOROUGH:     Your Honor, may I respond
   10    briefly on behalf of judgment creditors?        I would like
   11    to point out that -- and we submitted this as
   12    Exhibit R-23 to continue the numbering that we have used
   13    at past hearings.     This is yet another example, I
   14    believe, Your Honor, of a heads-I-win-tails-you-lose
   15    approach that we are seeing from the judgment debtor.
   16    And by that, I mean that Mr. Floyd -- and I will present
   17    this -- I've already handed a copy to the court
   18    reporter, but if I may approach, I'll hand you R-23,
   19    which has been filed and shared with opposing counsel.
   20                    This, Your Honor, is a letter received
   21    from Mr. Floyd, to the receiver, with judgment
   22    creditor's counsel added, and it states that --
   23                    MR. FLOYD:    Judge, I am going to object --
   24                    THE COURT:    Just a moment.
   25                    MR. YARBOROUGH:     It states, Your Honor --

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 88 of 102 PageID #: 266

                                                                           16

    1    this is a party admission.
    2                    THE COURT:    I have a copy of that attached
    3    to the receiver's motion.
    4                    MR. YARBOROUGH:     Okay.
    5                    THE COURT:    It's the same exhibit.      So I
    6    already have that in front of me.
    7                    MR. YARBOROUGH:     Okay.   And so, Your
    8    Honor, this is a party admission --
    9                    MR. FLOYD:    Judge, I've objected.
   10                    MR. YARBOROUGH:     -- under the hearsay
   11    exception for party admissions.
   12                    THE COURT:    Okay.   What is your objection,
   13    Mr. Floyd?
   14                    MR. FLOYD:    My objection is two-fold, at
   15    least.   That is communications between attorneys.         It's
   16    like negotiations.     It is impermissible to bring in
   17    communications between attorneys in a hearing.         In that
   18    letter, I made a misstatement, slight misstatement, in
   19    the way that it was worded, but the facts are the same.
   20    I'm saying that the money is exempt money under the
   21    Property Code.
   22                    THE COURT:    I'll overrule the objection.
   23                    You can continue, Counsel.
   24                    MR. YARBOROUGH:     Okay.   Your Honor, I am
   25    not trying to play a game here.       I am just saying their

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 89 of 102 PageID #: 267

                                                                           17

    1    position has changed, as Mr. Floyd would like to tell
    2    you first instead of allowing me to continue.
    3                    What we have here is a letter that states
    4    that Mr. Floyd received a "paycheck for current wages
    5    for a short term employment in December 2023."         So in
    6    this letter received from Attorney Floyd, Mr. Floyd is
    7    claiming that this check was received as short-term
    8    employment by American General Life Insurance Company.
    9                    The next sentence reads, "A client
   10    requested Philip Floyd personally to purchase an annuity
   11    as an agent and employee."      So not only is this a
   12    paycheck on behalf of a client who is -- for whom
   13    Mr. Floyd was acting as an agent, an employee, a client
   14    at Worth, but it's also a paycheck received from a third
   15    party, American General Life Insurance Company.
   16                    It's just whatever is convenient from day
   17    to day that we are hearing in this courtroom.         And, Your
   18    Honor, the thing that's difficult here is that Mr. Floyd
   19    didn't even file a response.      So we don't even have the
   20    issues crystallized for your review.        Fortunately, in
   21    this case, there is no question that this check for the
   22    round number of $35,000 is not wages.
   23                    You will hear evidence today -- which I
   24    will not present until it's admitted -- that Mr. Floyd
   25    actually holds, personally, insurance licenses with

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 90 of 102 PageID #: 268

                                                                          18

    1    multiple insurance companies and receives commission
    2    checks when assisting clients and getting life insurance
    3    annuities as an independent contractor.
    4                    This is absolutely within the four corners
    5    of your order, and it just goes to show the difficulty
    6    we're having when the ball and the goal posts keep
    7    getting moved.    We have here a clear-cut case of a
    8    check -- checks are covered by the receivership order --
    9    which was issued to Mr. Floyd personally, for an amount
   10    that is clearly within the ambit of your order.
   11                    And so the reason we're here today in
   12    support of the receiver's motion is because we think
   13    that this is clear-cut, and whether you issue an order
   14    having this check endorsed and handed to the receiver or
   15    put in the court registry with instructions to
   16    distribute to the receiver and to judgment creditors, we
   17    believe this issue is abundantly clear.        And we think
   18    that the check and the representations made in this R-23
   19    are party admissions that cannot be walked back.          And
   20    for that reason, we may not even need testimony, though
   21    we did secure Mr. Floyd -- Debtor Floyd's attendance
   22    today in order to testify to clarify the issues, if
   23    necessary.
   24                    MR. KRETZER:    If I could add one point,
   25    Judge, just briefly.

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 91 of 102 PageID #: 269

                                                                          19

    1                    THE COURT:    Mr. Kretzer, if you'd pull
    2    that microphone closer, please.
    3                    MR. KRETZER:    Oh.   I apologize.
    4                    If I could just add one point briefly.
    5                    Until Mr. Floyd talked about ten minutes
    6    ago, I had not heard anything about this mistaken check.
    7    That, I would suggest, Judge -- there is no evidence of
    8    this mistake, but that is a very serious allegation
    9    about the insurance company.      Insurance companies are
   10    regulated entities.     I don't know that they send a lot
   11    of checks in error.     I don't know that they would send a
   12    lot of checks with the wrong payee on it.        For Mr. --
   13    Attorney Floyd to say, oh, this money came in error and
   14    should be put in the registry instead of alerting the
   15    insurance company is even more serious.        That sounds
   16    like taking of a property that would roughly -- rightly
   17    belong to Worth Asset Management.       The reason they
   18    didn't say anything about that in the letter and no one
   19    said it -- didn't hear it until ten minutes ago is
   20    because there is probably nothing to suggest that it is
   21    in fact true.
   22                    But even if they are correct on that and
   23    they have some evidence that somehow this insurance
   24    company made this gigantic mistake, I don't know that
   25    putting it in the registry would be the correct course

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 92 of 102 PageID #: 270

                                                                          20

    1    of action.   I think the reason Mr. Floyd had to send me
    2    this letter is that his client has testified he has no
    3    bank account.    The only way he gets money is to cash the
    4    check from Worth at the source of their bank.         There is
    5    no other bank that he can put this in unless he endorses
    6    it to somebody.    That's why it has to come to the
    7    receiver.    That's why he alerted me about it.
    8                    If the situation was really, oh, my God,
    9    this insurance company made this horrible mistake and
   10    they sent the check in error, they would have called the
   11    insurance company and said, "You need to rescind this
   12    check and reissue it to the right party."        That's not at
   13    all what they did, Judge, and that's probably why no one
   14    has heard of it until about ten minutes ago.
   15                    THE COURT:    Anything further, Mr. Floyd?
   16                    MR. FLOYD:    Judge, we sent them a copy of
   17    the check almost immediately after we received it to put
   18    them on notice that we got this check.        And that was
   19    our -- what we believe -- Mr. Floyd believed was his
   20    duty, to notify the receiver he has a check and that's
   21    questionable.    That's all we're trying to do, is to
   22    decide can he take it and send it back and get it issued
   23    correctly so that his employer gets it.
   24                    We're in the middle.     We felt the
   25    obligation to put everybody on notice as to what should

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 93 of 102 PageID #: 271

                                                                          21

    1    be done.    But I know what the receiver was going to do.
    2    He's going to say, "Well, it belongs to me."         Well, if
    3    it belongs to him and it's addressed to Mr. Floyd,
    4    somebody has to pay taxes on it.        And those taxes -- if
    5    this Court were to order that money turned over to the
    6    receiver, Mr. Floyd is in criminal penalty for not
    7    paying taxes on money he does not receive.
    8                    THE COURT:    Mr. Kretzer, could I ask for a
    9    statutory citation to the provision that references the
   10    exempt percentage of commissions.        I don't happen to
   11    have it in front of me.
   12                    MR. KRETZER:    Sure.   It's in all three --
   13    it's been in all three of his independent advisor
   14    exhibits.    So that would be in R-1, the first one that
   15    we had in 2021.    It was the same percentage in 2022 and
   16    '23.
   17                    Do you have those?
   18                    MR. YARBOROUGH:     I don't think she's
   19    asking that question.
   20                    MR. KRETZER:    Am I answering the right
   21    question, Judge?
   22                    THE COURT:    I am just looking for the
   23    statutory cite, if you know which section it is so I can
   24    pull it up.
   25                    MR. KRETZER:    Oh.   I'm sorry.    I thought

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 94 of 102 PageID #: 272

                                                                           22

    1    you meant the percentage of his recovery each month, the
    2    IAR.   The statutory cite for a percentage of --
    3                    THE COURT:    The exempt percentage of
    4    commissions.
    5                    MR. KRETZER:    Oh.   The exempt percentage
    6    of commissions.    Let me see if I can pull it in Westlaw.
    7    I don't have that in front of me.
    8                    MR. FLOYD:    Were you talking about
    9    42.001(d) of the Property Code?
   10                    THE COURT:    Mr. Floyd has it.
   11                    Thank you.
   12                    So I'll hear arguments from counsel on, if
   13    the Court takes the check at face value that it's a
   14    commission, what portion of it, if any, is exempt under
   15    Section 42.001 and the receivership order.
   16                    MR. FLOYD:    Judge, if you are asking me,
   17    I'll call Philip Floyd, and he'll testify on that
   18    subject.
   19                    THE COURT:    Well, I don't need legal
   20    opinion -- or I don't need legal testimony.         I just need
   21    counsels' opinions and arguments.       It's just applying
   22    the law to the facts.     If this is a commission check for
   23    $35,000 -- and it says on its face it's a commission
   24    check -- what portion of it is exempt under 42.001?
   25                    MR. FLOYD:    After the deduction of taxes,

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 95 of 102 PageID #: 273

                                                                           23

    1    $25,000 is exempt.     And the taxes are going to be around
    2    14 -- I'm ready to put on evidence on that subject.          We
    3    got it --
    4                    THE COURT:    It's not an evidentiary
    5    question.   I don't believe we are going to need to hear
    6    any testimony today.     I just need to know what
    7    percentage or what portion of that check the parties
    8    contend to be exempt.
    9                    MR. FLOYD:    The $35,000, there is,
   10    roughly, 21 percent that is owed to WAM.        There is
   11    $8,400 in taxes due.     There's Social Security taxes that
   12    should be withheld from it of $4,340 and Medicare tax
   13    withheld of $1,015.     The total withholdings from the 35-
   14    is $21,105.
   15                    MR. NORCROSS:    The question is, if it's
   16    commission --
   17                    MR. YARBOROUGH:     Your Honor, if I may?
   18                    MR. FLOYD:    I am getting to that.
   19                    THE COURT:    If you'll let Mr. Floyd
   20    finish, and then I'll hear from the receiver.
   21                    MR. FLOYD:    That remains that Mr. Floyd
   22    would receive $13,895.     He is entitled to a $25,000
   23    protection under that section of the Property Code,
   24    25 percent of a hundred thousand dollars.
   25                    THE COURT:    Okay.   And any contrary

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 96 of 102 PageID #: 274

                                                                           24

    1    position on behalf of the receiver or judgment creditor?
    2                    MR. YARBOROUGH:     Your Honor, I'll let the
    3    receiver go next.     I think he is still doing some
    4    statutory analysis.
    5                    The position of the judgment creditors,
    6    Your Honor, is that if you make the determination that
    7    only 25 percent of the $100,000 family limit, as set
    8    forth in Subsection (a)(1) of this statute, applies,
    9    then that also applies to every single check they
   10    receive on a monthly basis because this is about
   11    commissions received for personal services.         We do
   12    not -- we take the position and we may need witness
   13    testimony today to determine that these are not
   14    commissions for personal services.
   15                    This is a sales commission made as an
   16    independent contractor, not for personal services.
   17    Mr. Floyd does not have hours to work for American
   18    General Life Insurance Company.       Mr. Floyd does not have
   19    times that he has to be in the office for American
   20    General Life Insurance Company.       Mr. Floyd is
   21    independent in how he performs the contractual duties
   22    under their commission agreement.
   23                    Mr. Floyd does not have any indicia
   24    whatsoever of receiving wages for personal services
   25    here.   So we believe that this does not apply.        There is

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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 97 of 102 PageID #: 275

                                                                           25

    1    no exemption that would apply to part of this check.
    2    All 35,000 must be submitted to the receiver or, at a
    3    minimum, the registry of the court.
    4                    That said, if Mr. Floyd's position is that
    5    this exemption applies to all commissions -- and he is
    6    repeatedly in this court, on the record, on hearing
    7    transcripts, which we can cite chapter and versus, that
    8    these are commissions.     So if he is saying that this
    9    exemption applies, it also applies to every single one
   10    of his monthly checks.     So he only gets a $25,000
   11    exemption for his annual income from these monthly
   12    checks he receives from Worth.       I don't think that's a
   13    correct position.     I think it's all or nothing.      They're
   14    either wages for personal services, like we say, or,
   15    they're not -- like they say, or they're not.
   16                    Here, there is no question that Mr. Floyd
   17    is not an employee.     He does not have a W-2.      He does
   18    not have an agreement that makes him an employee, and he
   19    does not meet any of the five Limestone factors for
   20    being an employee of American General Life Insurance
   21    Company.   For that reason, this is completely
   22    non-exempt, and the entire thing should go to the
   23    receivership.
   24                    MR. KRETZER:    Judge, Subsection (d) says,
   25    specifically, unpaid commissions for personal services

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 98 of 102 PageID #: 276

                                                                          26

    1    not to exceed 25 percent and so forth, and then it
    2    refers back to the beginning of this statute and
    3    Subsection (a).
    4                    This is not an unpaid commission we're
    5    looking at here.    It's the complete opposite.       It's a
    6    paid commission.    They have necessarily written a check
    7    where they say they are paying the commission, as they
    8    themselves have stated it.      So I would argue this
    9    doesn't apply.    That would keep me, at most, from
   10    going -- were American Insurance Company actually
   11    Mr. Floyd's employer, then maybe I could only go to them
   12    and request a certain amount of the unpaid commissions
   13    be remitted directly.     That's the complete opposite of
   14    what we have here.     They have already written the full
   15    commission check.
   16                    The analysis -- this litany of numbers
   17    that Mr. Floyd read off I don't think at all accords
   18    with anything about what you've heard about the way he
   19    is compensated.    They want -- Mr. Floyd wants to take a
   20    certain amount of this money, send it to WAM and then
   21    deduct taxes.    That's the complete opposite of what you
   22    heard the CEO testify to.      Mr. Floyd's compensation,
   23    under his independent advisor agreement, is he gets
   24    80 percent of the -- 80 percent of the house's cut of
   25    the assets under management each month.        We've never

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 99 of 102 PageID #: 277

                                                                          27

    1    heard a word before about Mr. Floyd remitting money over
    2    to WAM and then taking out his taxes and then get
    3    something back.    That doesn't accord with any
    4    compensation formula we've ever heard about.
    5                    So to answer your question directly,
    6    Judge, I think Subsection (d) says -- I quote -- "unpaid
    7    commissions for personal services."        We are not dealing
    8    here with an unpaid commission.       We are necessarily
    9    dealing here with a paid commission that takes the form
   10    of this check.
   11                    THE COURT:    All right.    I'll pause you
   12    there.
   13                    Mr. Floyd, do you have anything further
   14    to --
   15                    MR. FLOYD:    Yes, Your Honor.     I want to
   16    call Philip Floyd to testify.
   17                    THE COURT:    I'm going to deny that
   18    request.   I don't believe that we need to hear evidence
   19    on a legal question.
   20                    MR. FLOYD:    What is the legal question,
   21    Your Honor, that you are being asked to answer?
   22                    THE COURT:    I am not here to answer your
   23    question, sir.    Your tone and demeanor toward the Court
   24    has been repeatedly, habitually disrespectful, and I
   25    have tolerated it at every single hearing, but my

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 100 of 102 PageID #: 278

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    1    patience with that is at its limit.
    2                    MR. FLOYD:    Judge, if I've ever been
    3    disrespectful, I sincerely apologize.        I have never, in
    4    my knowledge, ever done or said anything in this
    5    courtroom that I thought or intended to be
    6    disrespectful.     I'm asking a simple question.       You are
    7    stating there is a ruling as a matter of law.          I am
    8    wanting to ask what is that ruling as a matter of law.
    9                    THE COURT:    I am ruling on the motion for
   10    turnover as a matter of law.       If you have any further
   11    argument to make, you can make it at this time.
   12                    MR. FLOYD:    Well, I disagree.     I object to
   13    ruling on a matter of law because it's a matter of
   14    evidence.    Facts have to be considered.       And the only
   15    way the facts can come in is if we are allowed to call
   16    the witnesses as to how this check came into being.
   17                    THE COURT:    And my ruling is that I am
   18    overruling the request for an evidentiary hearing.            It
   19    is based on the fact that, A, I don't think one is
   20    appropriate on this record, and, B, I don't believe that
   21    it's appropriate to expend court resources, given the
   22    history of this case, given the fact that, just here
   23    today, Mr. Floyd, I've heard you try to argue for an
   24    interlocutory stay of a post-judgment receivership
   25    order, an argument completely lacking in credibility.

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                  Official Court Reporter - 471st District Court
Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 101 of 102 PageID #: 279

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    1                    We have previously had a hearing
    2    concerning whether or not certain payments should fall
    3    within the receivership order, and counsel for Mr. Floyd
    4    failed to inform the Court that a new negotiated
    5    contract had already been achieved at the time of that
    6    hearing and that that hearing was a monumental waste of
    7    the Court's time.     So we are not going to expend any
    8    more court time or resources on what, essentially, is
    9    now turning into a circus.
   10                    I am going to rule on the motion for
   11    turnover as a matter of law.       If you have no further
   12    arguments, we will conclude the hearing.
   13                    MR. FLOYD:    Before you sign any order, I
   14    would like to see the order.
   15                    THE COURT:    Request denied.     I am going to
   16    enter an order.     I'll sign an order, and you will see it
   17    when it's entered.
   18                    We'll go off the record, and counsel is
   19    excused.
   20                    (Proceedings were concluded at 11:03 a.m.)
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Case 4:24-cv-00681-ALM-AGD Document 26 Filed 08/30/24 Page 102 of 102 PageID #: 280

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    1         STATE OF TEXAS
    2         COUNTY OF COLLIN
    3         I, Denise Carrillo, Official Court Reporter in and
    4    for the 471st District Court of Collin, State of Texas,
    5    do hereby certify that the above and foregoing contains
    6    a true and correct transcription of all portions of
    7    evidence and other proceedings requested in writing by
    8    counsel for the parties to be included in this volume of
    9    the Reporter's Record in the above-styled and numbered
   10    cause, all of which occurred in open court or in
   11    chambers and was reported by me.
   12          I further certify that this Reporter's Record of
   13    the proceedings truly and correctly reflects the
   14    exhibits, if any, offered by the respective parties.
   15          WITNESS MY OFFICIAL HAND this the 26th day of
   16    February, 2024.
   17                                 /s/ Denise Carrillo
                                      Denise Carrillo, CSR, RMR, CRR
   18                                 Texas CSR #9269
                                      Official Court Reporter
   19                                 471st District Court
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   20                                 McKinney, Texas 75071
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